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 MARK E. FELGER (MF9985)
 JERROLD N. POSLUSNY, JR. (JP7140)
 COZEN O’CONNOR
 LibertyView, Suite 300
 457 Haddonfield Road
 Cherry Hill, NJ 08002
 (856) 910-5000
 (856) 910-5075 (fax)

 Attorneys for the Debtors

                                 : UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF NEW JERSEY
 In re:                          :
                                   CHAPTER 11
 SHAPES/ARCH HOLDINGS L.L.C., et :
 al.,
                                 :
             Debtors.              CASE NO. 08-14631 (GMB)
                                 :



                  JOINT DISCLOSURE STATEMENT FOR THE DEBTORS’
                  THIRD AMENDED JOINT PLAN OF REORGANIZATION

      PLEASE READ THIS DISCLOSURE STATEMENT CAREFULLY.          THIS
 DISCLOSURE STATEMENT CONTAINS INFORMATION THAT MAY BEAR UPON
 YOUR DECISION TO ACCEPT OR REJECT THE DEBTORS’ THIRD AMENDED PLAN
 OF REORGANIZATION.     THE DEBTORS BELIEVE THAT THEIR PLAN OF
 REORGANIZATION IS IN THE BEST INTERESTS OF CREDITORS AND THAT THE
 PLAN IS FAIR AND EQUITABLE. THE DEBTORS URGE THAT CREDITORS VOTE TO
 ACCEPT THE PLAN.



 Dated: May 23, 2008




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 ALL CREDITORS AND INTEREST HOLDERS ARE ADVISED AND ENCOURAGED TO
 READ THIS DISCLOSURE STATEMENT AND THE PLAN IN THEIR ENTIRETY BEFORE
 VOTING TO ACCEPT OR REJECT THE PLAN. BECAUSE ACCEPTANCE OF THE PLAN
 WILL CONSTITUTE ACCEPTANCE OF ALL THE PROVISIONS THEREOF, HOLDERS
 OF IMPAIRED CLAIMS OR INTERESTS ENTITLED TO VOTE ARE URGED TO
 CONSIDER CAREFULLY THE INFORMATION REGARDING TREATMENT OF THEIR
 CLAIMS OR INTERESTS CONTAINED IN THIS DISCLOSURE STATEMENT.

 IN DETERMINING WHETHER TO VOTE TO ACCEPT THE PLAN, HOLDERS OF
 IMPAIRED CLAIMS OR INTERESTS ENTITLED TO VOTE MUST RELY UPON THEIR
 OWN EXAMINATION OF THE DEBTORS AND THE TERMS OF THE PLAN,
 INCLUDING THE MERITS AND RISKS INVOLVED. THE CONTENTS OF THIS
 DISCLOSURE STATEMENT SHOULD NOT BE CONSTRUED AS PROVIDING ANY
 LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE. EACH SUCH HOLDER SHOULD
 CONSULT WITH ITS OWN LEGAL, BUSINESS, FINANCIAL, AND TAX ADVISORS
 WITH RESPECT TO ANY SUCH MATTERS CONCERNING THIS DISCLOSURE
 STATEMENT, THE SOLICITATION, THE PLAN, AND THE TRANSACTIONS
 CONTEMPLATED THEREBY.

 PLAN SUMMARIES AND STATEMENTS MADE IN THIS DISCLOSURE STATEMENT,
 INCLUDING THE FOLLOWING SUMMARY, ARE QUALIFIED IN THEIR ENTIRETY BY
 REFERENCE TO THE PLAN, OTHER EXHIBITS ANNEXED TO THE PLAN, THE PLAN
 SUPPLEMENT, AND THIS DISCLOSURE STATEMENT.         THE STATEMENTS
 CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE ONLY AS OF THE DATE
 HEREOF UNLESS OTHERWISE SPECIFIED, AND THERE CAN BE NO ASSURANCE
 THAT THE STATEMENTS CONTAINED HEREIN WILL BE CORRECT AT ANY TIME
 AFTER SUCH DATE. ALL CREDITORS AND INTERESTS HOLDERS SHOULD READ
 CAREFULLY THE “RISK FACTORS” SECTION HEREOF BEFORE VOTING FOR OR
 AGAINST THE PLAN. SEE “CERTAIN RISK FACTORS TO BE CONSIDERED,” Article
 VIII.

 THIS DISCLOSURE STATEMENT HAS BEEN PREPARED BY THE DEBTORS IN
 ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND RULE 3016
 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND NOT NECESSARILY
 IN ACCORDANCE WITH FEDERAL OR STATE SECURITIES LAWS OR OTHER
 APPLICABLE LAW.    THIS DISCLOSURE STATEMENT HAS BEEN NEITHER
 APPROVED NOR DISAPPROVED BY THE SECURITIES AND EXCHANGE
 COMMISSION (THE “SEC”) NOR HAS THE SEC PASSED UPON THE ACCURACY OR
 ADEQUACY OF THE STATEMENTS CONTAINED HEREIN.

 CERTAIN STATEMENTS CONTAINED HEREIN, INCLUDING PROJECTED FINANCIAL
 INFORMATION AND OTHER FORWARD-LOOKING STATEMENTS, ARE BASED ON
 ESTIMATES AND ASSUMPTIONS. THERE CAN BE NO ASSURANCE THAT SUCH
 STATEMENTS WILL REFLECT ACTUAL OUTCOMES.

 THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED
 SOLELY FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN. NOTHING


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 IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY ENTITY FOR ANY
 OTHER PURPOSE.      THE FACTUAL INFORMATION CONTAINED IN THIS
 DISCLOSURE STATEMENT, INCLUDING THE DESCRIPTION OF THE DEBTORS,
 THEIR BUSINESSES, AND EVENTS LEADING TO THE COMMENCEMENT OF THESE
 CHAPTER 11 CASES, HAS BEEN PREPARED AND OBTAINED BY THE DEBTORS AND
 THEIR PROFESSIONALS FROM VARIOUS DOCUMENTS, AGREEMENTS, AND OTHER
 WRITINGS RELATING TO THE DEBTORS. NEITHER THE DEBTORS NOR ANY
 OTHER PARTY MAKES ANY REPRESENTATION OR WARRANTY REGARDING SUCH
 INFORMATION.

 THE TERMS OF THE PLAN GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH
 THE SUMMARIES IN THIS DISCLOSURE STATEMENT. ALL EXHIBITS TO THE
 DISCLOSURE STATEMENT ARE INCORPORATED INTO AND ARE A PART OF THIS
 DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.

 AS TO CONTESTED MATTERS, ADVERSARY PROCEEDINGS, AND OTHER PENDING
 OR THREATENED LITIGATION OR ACTIONS, THIS DISCLOSURE STATEMENT
 SHALL NOT CONSTITUTE OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR
 LIABILITY, STIPULATION, OR WAIVER, OR OTHERWISE HAVE ANY PRECLUSIVE
 EFFECT, BUT RATHER SHALL CONSTITUTE AND BE CONSTRUED AS A
 STATEMENT MADE WITHOUT PREJUDICE SOLELY FOR SETTLEMENT PURPOSES,
 WITH FULL RESERVATION OF RIGHTS, AND IS NOT TO BE USED FOR ANY
 LITIGATION PURPOSE WHATSOEVER. AS SUCH, THIS DISCLOSURE STATEMENT
 SHALL NOT BE ADMISSIBLE IN ANY NONBANKRUPTCY PROCEEDING,
 ADVERSARY PROCEEDING OR OTHER ACTION INVOLVING THE DEBTORS OR ANY
 OTHER PARTY IN INTEREST, NOR SHALL IT BE CONSTRUED TO BE CONCLUSIVE
 ADVICE ON THE TAX, SECURITIES, FINANCIAL OR OTHER EFFECTS OF THE PLAN
 AS TO HOLDERS OF CLAIMS AGAINST OR INTERESTS IN THE DEBTORS.

 THE CONFIRMATION AND EFFECTIVENESS OF THE PLAN ARE SUBJECT TO
 MATERIAL CONDITIONS PRECEDENT. SEE SECTION VII OF THIS DISCLOSURE
 STATEMENT. THERE CAN BE NO ASSURANCE THAT THOSE CONDITIONS WILL BE
 SATISFIED.

 THE FINANCIAL PROJECTIONS ATTACHED HERETO WERE PREPARED BY THE
 DEBTORS WITH THE ASSISTANCE OF ITS RESTRUCTURING ADVISOR BASED ON
 INFORMATION AVAILABLE TO THE DEBTORS AND NUMEROUS ASSUMPTIONS
 THAT ARE AN INTEGRAL PART OF THE FINANCIAL PROJECTIONS, MANY OF
 WHICH ARE BEYOND THE CONTROL OF THE DEBTORS AND SOME OR ALL OF
 WHICH MAY NOT MATERIALIZE. THE FINANCIAL PROJECTIONS WERE NOT
 PREPARED WITH A VIEW TOWARD COMPLIANCE WITH THE GUIDELINES
 ESTABLISHED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC
 ACCOUNTANTS OR THE RULES AND REGULATIONS OF THE SEC REGARDING
 FINANCIAL PROJECTIONS. FURTHERMORE, THE FINANCIAL PROJECTIONS HAVE
 NOT BEEN AUDITED BY THE DEBTORS’ INDEPENDENT CERTIFIED
 ACCOUNTANTS. ALTHOUGH PRESENTED WITH NUMERICAL SPECIFICITY, THE
 FINANCIAL PROJECTIONS ARE BASED UPON A VARIETY OF ASSUMPTIONS, SOME

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 OF WHICH HAVE NOT BEEN ACHIEVED TO DATE AND MAY NOT BE REALIZED IN
 THE FUTURE, AND ARE SUBJECT TO SIGNIFICANT BUSINESS, LITIGATION,
 ECONOMIC, AND COMPETITIVE UNCERTAINTIES AND CONTINGENCIES, MANY, IF
 NOT ALL, OF WHICH ARE BEYOND THE CONTROL OF THE DEBTORS.
 CONSEQUENTLY, THE FINANCIAL PROJECTIONS SHOULD NOT BE REGARDED AS
 A REPRESENTATION OR WARRANTY BY THE DEBTORS OR ANY OTHER PERSON,
 THAT THE FINANCIAL PROJECTIONS WILL BE REALIZED. ACTUAL RESULTS MAY
 VARY MATERIALLY FROM THOSE PRESENTED IN THE FINANCIAL PROJECTIONS.

 ANY CAPITALIZED TERMS NOT DEFINED HEREIN SHALL HAVE THE DEFINITION
 ASCRIBED TO SUCH TERM IN THE PLAN.

                          I.      INTRODUCTION AND SUMMARY

          Shapes/Arch Holdings L.L.C., Shapes L.L.C., Delair L.L.C., Accu-Weld L.L.C., and
 Ultra L.L.C., the above-captioned Debtors (the “Debtors”), submits this disclosure statement (the
 “Disclosure Statement”), pursuant to section 1125 of title 11 of the United States Code (the
 “Bankruptcy Code”), to holders of Claims against and Interests in the Debtors in connection with
 (i) the solicitation of acceptances of the Debtors’ Second Amended Joint Plan of Reorganization
 dated May 12, 2008 [Docket No. 273], as such plan may be amended (the “Plan”), filed by the
 Debtors with the United States Bankruptcy Court for the District of New Jersey (Camden
 Vicinage) (the “Bankruptcy Court”), and (ii) the Confirmation Hearing scheduled for July 8,
 2008 at 10:00 a.m. (ET). Unless otherwise defined herein, all capitalized terms contained herein
 have the meanings ascribed to them in the Plan.

         The following introduction and summary is qualified in its entirety by, and should be
 read in conjunction with, the more detailed information and financial statements and notes
 thereto appearing elsewhere in this Disclosure Statement together with any relevant Exhibits and
 Appendices.

        Concurrently with the filing of this Disclosure Statement, the Debtors filed the Plan
 which sets forth how Claims against and Interests in the Debtors will be treated in these Chapter
 11 Cases. This Disclosure Statement describes certain aspects of the Plan, the Debtors’ prior
 operations, significant events occurring in the Debtors’ Chapter 11 Cases and other related
 matters. FOR A COMPLETE UNDERSTANDING OF THE PLAN, YOU SHOULD READ
 THE DISCLOSURE STATEMENT, THE PLAN AND THE EXHIBITS HERETO AND
 THERETO IN THEIR ENTIRETY.

 A.      Disclosure Statement Enclosures

 Attached as exhibits to this Disclosure Statement are copies of the following:

         •   The Plan (Exhibit “A”);

         •   The Order of the Bankruptcy Court (without exhibits) (the “Solicitation Procedures
             Order”), which, among other things, approves the Disclosure Statement and
             establishes certain procedures with respect to the solicitation and tabulation of votes
             to accept or to reject the Plan (Exhibit “B”);

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         •   Financial Projections (Exhibit “C”);

         •   Liquidation Analysis (Exhibit “D”);

         •   Schedule of Environmental Claims (Exhibit “E”);

         •   Current Financial Information (Exhibit “F”);

         •   Schedule of Insurance (Exhibit “G”); and

         •   Order Approving Competitive Process (Exhibit “H”).

        In addition, a Ballot for the acceptance or rejection of the Plan is enclosed with the
 Disclosure Statement submitted to the holders of Impaired Claims and Interests that the Debtors
 believe are entitled to vote to accept or reject the Plan.

         The Solicitation Procedures Order sets forth in detail the deadlines, procedures and
 instructions for voting to accept or reject the Plan and for filing objections to confirmation of the
 Plan, and the applicable standards for tabulating Ballots. In addition, detailed voting instructions
 accompany each Ballot. Each holder of an Impaired Claim or Interest entitled to vote on the
 Plan should read in their entirety the Disclosure Statement, the Plan, the Solicitation Procedures
 Order and the instructions accompanying the Ballots before voting on the Plan. These
 documents contain, among other things, important information concerning the classification of
 Claims and Interests for voting purposes and the tabulation of votes. No solicitation of votes to
 accept or reject the Plan may be made except pursuant to section 1125 of the Bankruptcy Code
 and the Solicitation Procedures Order.

 B.      Only Impaired Classes Vote

          Pursuant to the provisions of the Bankruptcy Code, only Classes of Claims and Interests
 that are “impaired” under the Plan may vote to accept or reject the Plan. Generally, a claim or
 interest is impaired under a plan if the holder’s legal, equitable or contractual rights are changed
 under such plan. In addition, if the holders of claims or interests in an impaired class do not
 receive or retain any property under a plan on account of such claims or interests, such impaired
 class is deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code.

        The Bankruptcy Code defines “acceptance” of a plan by a class of claims as acceptance
 by holders of claims in that class that hold at least two-thirds in dollar amount and more than
 one-half in number of the claims that cast ballots for acceptance or rejection of the plan.

         Section 1129(b) of the Bankruptcy Code permits the confirmation of a plan
 notwithstanding the nonacceptance of a plan by one or more impaired classes of claims or
 interests. Under that section, a plan may be confirmed by a court if (i) at least one class of
 impaired claims accepts the plan and (ii) the plan does not “discriminate unfairly” and is “fair
 and equitable” with respect to each nonaccepting class.

        In addition, if any Impaired Class of Claims or Interests entitled to vote shall not accept
 the Plan by the requisite majorities provided in section 1126(c) of the Bankruptcy Code, the

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 Debtors reserve the right to seek to have the Bankruptcy Court confirm the Plan under section
 1129(b) of the Bankruptcy Code.

         Under the Plan, Claims in Classes 5, 6, 7, 9 and 10 are or may be Impaired and are
 entitled to vote on the Plan. Holders of Interests in Class 11 will receive no distribution and,
 accordingly, such holders are deemed to reject the Plan. Under the Plan, Claims in Classes 1, 2,
 3, 4 and 8, and Interests in Class 12 are unimpaired, and the holders of Class 1, 2, 3, 4 and 8
 Claims and Class 12 Interests are conclusively deemed to have accepted the Plan pursuant to
 section 1126(f) of the Bankruptcy Code. ACCORDINGLY, A BALLOT FOR ACCEPTANCE
 OR REJECTION OF THE PLAN IS BEING PROVIDED ONLY TO HOLDERS OF CLAIMS
 IN CLASSES 5, 6, 7, 9 and 10.

        For a summary of the treatment of each Class of Claims and Interests, see “Overview of
 the Plan” below.

 C.      Confirmation Hearing

         The Bankruptcy Court has scheduled the Confirmation Hearing for July 8, 2008 at 10:00
 a.m. (ET) in the United States Bankruptcy Court for the District of New Jersey, 400 Cooper
 Street, Camden, New Jersey 08101. The Bankruptcy Court has directed that objections, if any,
 to confirmation of the Plan be served and filed on or before June 30, 2008 at 4:00 p.m. (ET) in
 the manner described in the Notice accompanying this Disclosure Statement. The date of the
 Confirmation Hearing may be adjourned from time to time without further notice except for an
 in-court announcement at the Confirmation Hearing of the date and time as to which the
 Confirmation Hearing has been adjourned.

                              II.     OVERVIEW OF THE PLAN

 A.      Introduction

         The Plan is the product of the effort by the Debtors’ management and their professional
 advisors working with the Committee and Arch Acquisition to develop a plan that will enable
 Creditors and Interest holders to receive the maximum recovery possible in these Chapter 11
 Cases. The valuation of the Debtors and the Reorganized Debtors, upon which certain
 distributions contemplated by the Plan are based, is derived in part from projections of the future
 performance of the Reorganized Debtors and the market test of value under the Competitive
 Process (as defined herein below). The financial projections, which were prepared by the
 Debtors with the assistance of their advisors, are attached as Exhibit C to this Disclosure
 Statement.

      THE DEBTORS BELIEVE THAT THE PLAN WILL ENABLE THEM TO
 MAXIMIZE THE RECOVERY TO THEIR CREDITORS AND INTEREST HOLDERS AND
 THAT ACCEPTANCE OF THE PLAN IS IN THE BEST INTERESTS OF THE DEBTORS,
 THEIR CREDITORS AND INTEREST HOLDERS. THE DEBTORS THEREFORE URGE
 THOSE PARTIES ENTITLED TO CAST A BALLOT TO ACCEPT THE PLAN.




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 B.      Summary of Distributions

          Under the Plan, Claims against and Interests in the Debtors are divided into Classes and
 will receive the distributions and recoveries (if any) described in the table below. The following
 table briefly summarizes the classification and treatment of Claims and Interests under the Plan.
 The estimated amounts of Allowed Claims set forth in the following table reflect the amounts
 listed in the Debtors’ Schedules. The bar date for filing claims was May 15, 2008. The Debtors
 have not begun their analysis of the official claims’ register maintained by Epiq Bankruptcy
 Solutions LLC (“Epiq”), but the Debtors understand that claims have been filed totaling several
 billion dollars.

                                       Type of Claim                    Estimated Amount              Estimated
         Class                    or Membership Interest                of Allowed Claims             Recovery
 Unclassified                 Administrative Claims                        $2,513,6061                  100%
 Unclassified                 Fee Claims                                   $1,500,0002                  100%
 Unclassified                 Priority Tax Claims                            $84,667                    100%
 1                            Other Priority Claims                         $1,514,113                  100%
 2                            Secured Real Estate Claims                    $747,9393                   100%
 3                            Arch Acquisition DIP Claim                   $26,700,000                  100%
 4                            CIT DIP Claim                                $54,600,000                  100%
 5                            Secured Claims Purchase                         $TBD                      100%
                              Money Security Interests
 6                            Secured Claims of                               $200,0004                 100%
                              Warehousemen and Shippers
 7                            Collateralized Insurance                           TBD                    100%
                              Program Claims
 8                            Miscellaneous Secured Claims                    $75,000                   100%
 9                            Environmental Claims                           Unknown5                   TBD


 1
   This amount is the estimation of the Debtors’ liability for section 503(b)(9) claims, subject to further review and
 investigation. All Allowed Administrative Claims other than those arising under Section 503(b)(9) will be paid in
 the ordinary course when due after confirmation of the Plan.
 2
    This amount represents a rough estimate of the total amount of unpaid Fee Claims through the date for the
 Confirmation Hearing (July 8, 2008). This amount is shown separately for presentation purposes (and will be paid
 on the Effective Date), but is included in the Arch Acquisition DIP Claim and/or the CIT DIP Claim amounts in this
 chart.
 3
    On or about May 13, 2008, the Township of Pennsauken, New Jersey, the principal location of the Debtors’
 facilities, filed a Proof of Claim in the amount of $837,905.30. The Debtors believe that the tax obligation is
 $747,989.00 and are in discussions with the Township to address this Claim and a possible reduction of the real
 estate taxes going forward.
 4
    The Debtors are currently analyzing the amount of claims in this class but estimate the same are in excess of
 $100,000.00 and less than $400,000.00.
 5
    The Debtors are unable to determine at this time the amount of the Environmental Claims against the estates.
 Prior to the Petition Date, Environmental Claims have been paid through applicable insurance policies. The Debtors
 note that numerous claims have been filed with Epiq asserting Environmental Claims of several billion dollars,
 which the Debtors believe are grossly overstated and objectionable.

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 10                           General Unsecured Claims                    $38,121,4136                TBD
 11                           Ben Interests                                   N/A7                     0%
 12                           Class 12 Interests                              N/A                     100%

         ALTHOUGH THE DEBTORS BELIEVE THAT THE ESTIMATED PERCENTAGE
 RECOVERY FOR CLASS 10 CREDITORS MAY BE 7-14% BASED UPON THE AMOUNTS
 REFLECTED IN THEIR BANKRUPTCY SCHEDULE F AND THE CLASS 10 POOL BEING
 $5,000,000, THERE IS NO ASSURANCE THAT THE FINAL AMOUNTS OF ALLOWED
 CLAIMS IN CLASS 10 WILL NOT MATERIALLY EXCEED THE ESTIMATED
 AGGREGATE AMOUNT SHOWN IN THE TABLE ABOVE AND THEREFORE POSSIBLY
 DEPLETE THE ESTIMATED PERCENTAGE RECOVERY. The actual recoveries under the
 Plan by the Debtors’ creditors will be dependent upon a variety of factors including, but not
 limited to, whether, and to what extent, Disputed Claims are resolved in favor of the Debtors
 rather than the Creditors. Accordingly, no representation can be or is being made with respect to
 whether the estimated recovery shown in the table above for Class 10 Creditors will be realized
 by the holder of an Allowed Claim in such class.

         The Debtors have filed the Plan for administrative convenience and each class referenced
 above shall apply to each of the Debtors’ estates with the funding for each Class to be shared
 pro-rata amongst creditors in each estate as if the estates had been substantially consolidated.

                                 III.     OVERVIEW OF CHAPTER 11

         Under chapter 11 of the Bankruptcy Code, a debtor is authorized to reorganize or
 liquidate its business for the benefit of itself, its creditors and interest holders. A goal of chapter
 11 is to promote equality of treatment for similarly situated creditors and similarly situated
 interest holders with respect to the distribution of a debtor’s assets.

         The commencement of a chapter 11 case creates an estate that is comprised of all of the
 legal and equitable interests of the debtor as of the filing date. The Bankruptcy Code provides
 that the debtor may continue to operate its business and remain in possession of its property as a
 “debtor-in-possession.”

         The consummation of a chapter 11 plan is the principal objective of a chapter 11 case. A
 chapter 11 plan sets forth the means for satisfying claims against and interests in a debtor.
 Confirmation of a plan by the bankruptcy court makes the plan binding upon, among others, a
 debtor, any issuer of securities under the plan, any person acquiring property under the plan and
 any creditor or interest holder of a debtor.


 6
    The above estimate is preliminary and includes all general unsecured claims listed in the Debtors’ bankruptcy
 schedules and no representations are being made with respect thereto as underlying this estimate are a number of
 assumptions that are inherently subject to significant uncertainties and contingencies beyond the control of the
 Debtors. The actual amount of claims in Class 10 may be materially higher based upon the ultimate Allowed
 amount of any rejection damage claims, any Deficiency Claim arising out of Environmental Claims, any filed proofs
 of claim or any claims relating to the Debtors’ multi employer pension plans.
 7
   In consideration for the Plan Funders Funding Commitment and additional consideration set forth in the Plan, the
 Plan Funder shall receive 100% of the New L.L.C. Interests in the Reorganized Shapes/Arch Holdings L.L.C.

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         After a plan has been filed and a disclosure statement containing adequate information of
 a kind, and in sufficient detail, to enable a hypothetical reasonable investor to make an informed
 judgment about the plan has been approved by the court, the holders of claims against or
 interests in a debtor may vote to accept or reject the plan under certain circumstances.

                        IV.   DESCRIPTION OF THE DEBTORS’ BUSINESS

 A.      The Debtors

         Shapes/Arch Holdings L.L.C. (“Shapes/Arch”) was created to integrate the operations
 and management of the company’s four business units. Shapes L.L.C. (“Shapes”) is a
 manufacturer, fabricator and distributor of a broad array of customized, large profile aluminum
 extrusions. Delair L.L.C. (“Delair”) offers a wide variety of maintenance free aluminum fence
 systems and has one of America’s most recognized brands of above ground pools. Accu-Weld
 L.L.C. (“Accu-Weld”) designs, manufactures and distributes high quality made-to-order vinyl,
 residential windows and steel entry doors. Ultra L.L.C. (“Ultra”) is a leading supplier of value
 priced, globally sourced hardware products. The membership interest of Shapes/Arch is held
 100% by Ben LLC. Ben LLC is controlled by various family members who are related to Ben
 Corson, the founder of the company (which was formed in 1952). Shapes/Arch owns 100% of
 the membership interests in each of the operating entities.

         The Debtors’ predecessor was established in New Jersey in 1952 to produce aluminum
 windows. By 1959, the business had expanded and began focusing on producing aluminum
 extrusions. The Debtors have consistently expanded their businesses over the years by investing
 in new facilities and technology and by establishing new product lines. On a consolidated basis,
 the Debtors’ net revenue in 2007 was $273.8 million, with Shapes generating approximately
 65% of that revenue. The Debtors have over 1,000 employees, approximately 70% of whom are
 members of either the International Brotherhood of Teamsters Local 837, or the United
 Independent Union.

          Shapes is the largest operating Debtor with 2007 revenue over $179 million and over 600
 employees. Shapes is a leading producer of custom aluminum extrusions for a variety of
 industries, including road and rail transportation and commercial and residential construction.
 Aluminum extrusion is a process by which a heated aluminum billet is rammed through a die to
 create the intended shape. The extruded aluminum exits the press, is cooled and then cut to the
 necessary lengths. Shapes distinguishes itself in the industry because of its extensive large press
 capacity and because all of its casting, extruding, fabricating and finishing is completed in one
 facility. Shapes’ 525,000 square foot facility, which is located in Delair, New Jersey, operates
 twenty-four hours per day, seven days a week, with its casthouse (to produce the billets to be
 pushed through the presses), eight presses of varying sizes, a paint line, an anodizing line and a
 variety of other fabrication equipment. Shapes can produce and ship over 400,000 pounds of
 extruded aluminum per day. Shapes has been recognized in the “Guinness Book of World
 Records” for the largest free standing aluminum structure ever created in connection with the
 restoration of the Statue of Liberty. Shapes also provided the aluminum scaffolding used in
 connection with the restoration of the Washington Monument. In 2007 Shapes’ revenues
 decreased by approximately $35 million compared to 2006. This decrease is, at least in part,



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 attributable to the fact that 65% of Shapes’ sales are to the trailer, truck body and railcar sectors,
 all of which have been experiencing an economic downturn.

         Delair manufactures maintenance free aluminum fence systems for residential and
 commercial use, and manufactures America’s most recognized brand of above-ground pools.
 Both product lines are sold through dealers, distributors and major retailers throughout the
 United States. Delair operates from a 350,000 square foot facility adjacent to Shapes in Delair,
 New Jersey. Delair’s proximity to Shapes provides a competitive advantage because Delair
 purchases approximately 70% of its product line from Shapes. Because Delair’s sales are largely
 tied to consumer spending and the housing market, Delair has suffered with that sector of the
 economy and its 2007 revenues were $5.5 million less than in 2006.

         Accu-Weld is a vertically integrated manufacturer of made-to-order vinyl replacement
 windows and steel doors. Accu-Weld’s products are sold to installers, dealers and home
 improvement retailers throughout the Northeastern, Mid-Atlantic and Midwestern United States.
 Accu-Weld operates out of 100,000 square foot facility in Bensalem, Pennsylvania. Unlike
 many of its competitors, Accu-Weld extrudes its own final profiles, which results in faster
 production and delivery to the customer. Accu-Welds’ net revenues in 2007 were $24.9 million,
 down from $37 million in 2006. The loss of revenue is due principally to Accu-Weld ceasing to
 do business with certain customers that were not profitable or which presented significant,
 unjustifiable credit risk and the general decline of the housing market.

         Ultra is one of the leading suppliers of value branded hardware products in the United
 States, including locksets, door and window hardware and other decorative hardware. Ultra has
 over 8,000 products sourced primarily from China. Ultra’s products are sold to home
 improvement and hardware retailers, hardware cooperatives and distributors, home builders and
 window and door manufactures. Ultra operates from a 75,000 square foot distribution facility in
 Pennsauken, New Jersey with two million cubic feet of storage space. Ultra’s EBITDA
 decreased by $2.2 million due primarily to sales of hardware to lower margin accounts and the
 rapid escalation of product costs from China that could not be passed on to Ultra’s customers.

 B.      The Pre-Petition Capital Structure

        Prior to the Petition Date, Shapes, Delair, Accu-Weld and Ultra (as co-borrowers and/or
 co-guarantors) were indebted to a lender group consisting of The CIT Group/Business Credit,
 Inc. (“CIT”), for itself and as agent, JP Morgan Chase Bank, N.A. (successor to Bank One,
 National Association) and Textron Financial Corporation (collectively, the “Lender Group” or
 the “CIT Lenders”) pursuant to a financing agreement, dated December 30, 2003 (as amended
 from time to time, the “Pre-Petition Financing Agreement,”). Pursuant to the Pre-Petition
 Financing Agreement, the Lender Group provided financing in the form of revolving loans
 (based upon a percentage of eligible inventory, eligible accounts receivable and, during specific
 periods, assets comprised of property, plant and equipment (the “PP&E Equity Borrowing Base
 Component”), a term loan, and letters of credit. The Pre-Petition Financing Agreement was
 amended on fifteen occasions (most recently on or about March 6, 2008), principally to address
 the additional funding needs of the Debtors in light of the cyclical nature of the Debtors’
 businesses. The Pre-Petition Financing Agreement, as amended, required that the Debtors re-pay
 the PP&E Equity Borrowing Base Component on or before March 14, 2008.

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         The Pre-Petition Financing Agreement provided for a maximum total credit facility of
 $75.7 million, and a maximum revolving line of credit of $67 million. Shapes/Arch and its
 parent, Ben LLC, were guarantors of the debt to the Lender Group pursuant to the Pre-Petition
 Financing Agreement. The Lender Group maintained a first priority lien on and security interest
 in substantially all of the Debtors’ assets, including, without limitation, all accounts receivable,
 inventory, machinery and equipment and real property, and the proceeds thereof. As of the
 Petition Date, the outstanding borrowings from the Lender Group were: (i) revolving loans
 totaling approximately $47.72 million (inclusive of the PP&E Equity Borrowing Base
 Component); (ii) a term loan totaling approximately $8.35 million; and (iii) letters of credit
 totaling approximately $3.55 million for an aggregate indebtedness to the Lender Group in the
 amount of $58,630,849 (the “Pre-Petition Bank Debt”).

 C.      Events Leading to Chapter 11 Filing8

         Prior to the filing of these Chapter 11 Cases, the Debtors had attempted to sell the
 companies and had engaged TM Capital in May of 2006 to explore selling all of the entities.
 Those efforts which went on in earnest through the first half of 2007 did not result in a sale of the
 entities. The Debtors then attempted to raise significant additional capital and financing in the
 fourth quarter of 2007 with the assistance of CIT Capital Markets, an affiliate of its principal
 lender, CIT. These efforts failed to uncover any alternative or additional lending source. During
 the weeks leading up to the filing the Debtors had discussions with potential buyers and potential
 sale/leaseback prospects, but their efforts failed to uncover any alternative or additional lending
 source. Phoenix Management Services, Inc. (“Phoenix”) was engaged by the Debtors on or
 about January 15, 2008, to review the Debtors’ current financial situation, to review the 2008
 business plan and financial forecast and otherwise assist the Debtors in exploring their strategic
 alternatives.

         The Debtors filed these Chapter 11 Cases as a result of serious liquidity issues. The
 Debtors consolidated statements for year ending 2007 showed a decline in net revenue by $48.5
 million dollars from $322.3 million dollars to $273.8 million dollars. EBITDA declined by
 almost $17 million from $20.6 million in 2006 to less than $4 million dollars in 2007. The
 majority of the loss related primarily to the depressed results that were obtained by Shapes.
 Although the net revenue of Ultra increased slightly in 2007 from $45.5 million dollars in 2006
 to $46.1 million dollars in 2007, its EBITDA decreased from $3.3 million in 2006 to $1.1 million
 in 2007. Both Delair and Accu-Weld had significant declines in net revenue during 2007 as well
 as significant declines in EBITDA.

        A substantial portion of the Debtors’ revenue has been impacted by various contractions
 in various industries throughout the United States. By way of example, Shapes’ sales are
 primarily to trailer, truck body and rail car sector customers that are all experiencing declines in
 their own industry. Delair’s customer base is strongly associated with consumer confidence in
 the economy and housing industry and as such, has been affected by the spending habits of

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   As described in various pleadings filed by the Committee to date, the Committee does not agree with the portrayal
 of certain facts and characterizations of certain events leading up to the Debtors’ bankruptcy filing. Therefore,
 nothing contained in Section C should be binding on the Committee or its successors-in-interest.

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 consumers. Ultra and Accu-Weld are likewise significantly affected by consumer spending in
 the construction industry and home remodeling sectors and have been adversely affected by the
 same. Lastly, due to the seasonality of their businesses, the Debtors faced a significant liquidity
 crises under the Pre-Petition Financing Agreement with the Lender Group. In brief summary,
 the significant decline in revenue and seasonal liquidity position compelled the Debtors to seek
 an alternative to their then current position which included, without limitation, seeking relief
 under Chapter 11 of the United States Bankruptcy Code.

         In early January of 2008, with the Debtors’ inability to identify additional or alternative
 financing notwithstanding the efforts of CIT Capital Markets, and their need for borrowing in
 excess of the borrowing base provided for in the Pre-Petition Financing Agreement projected to
 increase to over $7.4 million over the next several weeks (without factoring in any payments to
 restructuring professionals or to vendors on the past due trade debt), and the unwillingness to
 fund additional loans in excess of the then-existing PP&E Equity Borrowing Base Component,
 the Debtors’ continued ability to fund their operations was in substantial doubt without a quick
 and efficient transaction. In mid-January, 2008, the Debtors began a dialogue with Versa Capital
 Management, Inc. (“Versa”), a Philadelphia based private equity firm to discuss Versa’s interest
 in a possible transaction. Versa expressed interest and conducted extensive due diligence on an
 expedited basis with respect to the Debtors’ businesses in late January. Also during this time
 frame, and as set forth above, the Debtors retained Phoenix.

        In February of 2008, Versa (with certain affiliates), the Debtors and representatives of the
 owners of Ben LLC engaged in arms length negotiations which culminated in an agreement
 whereby Arcus ASI Funding, LLC (“Arcus”), would, among other things, commit to lend up to
 $25 million to the Debtors during their Chapter 11 proceedings (and provide additional funding
 and an equity infusion to help reorganize the Debtors (through another affiliate, Arcus ASI, LLC
 “Arcus I”)). As part of this agreement, Arcus ASI, Inc. would become a manager of (but not a
 member of) Shapes/Arch (with 79.9% of the voting rights) and Ben LLC would retain 100% of
 the ownership rights and 20.1% of the voting rights. This transaction was made subject to many
 terms and conditions including the Lender Group’s commitment to provide DIP financing to the
 Debtors, and the Lender Group’s Commitment to Arcus to provide exit financing for the
 Debtors. The Debtors, Versa and the Lender Group engaged in extensive negotiations and
 ultimately reached an agreement on the terms and conditions upon which Arcus would provide
 additional financing to the Debtors (pursuant to which the Lender Group’s term loan could be
 repaid and the PP&E Equity Borrowing Base Component would be eliminated) during any
 chapter 11 process, as well as provide an exit facility for the Debtors.

         On March 16, 2008 (the “Petition Date”), the Debtors commenced these Chapter 11
 Cases and filed a plan with Arcus as the Plan Funder which included a commitment by (i) the
 Lender Group to provide the Debtors with revolving loans throughout the chapter 11 proceedings
 and upon exiting bankruptcy in the amount of up to $60 million, and (ii) Arcus to provide
 additional working capital for the Debtors, and to fund a small dividend to creditors, requiring a
 total commitment by Arcus of approximately $25 million plus a plan funding equity commitment
 in an aggregate amount of no less than $1.5 million (which could be paid in cash or by way of
 conversion of Arcus’ DIP Loan). As described herein below the Arcus plan has been replaced
 by the Plan that has been filed contemporaneously with this Disclosure Statement.


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         Attached hereto as Exhibit “E” is a schedule setting forth the Debtors’ operating
 performance for the first two months of 2008. The Debtors shall file monthly operating reports
 for the post petition periods as and when due in accordance with the U.S. Trustee’s guidelines.

                                      V.     THE FILING

        On the Petition Date, the Debtors filed voluntary petitions for relief under Chapter 11 of
 the Bankruptcy Code. The Debtors continue in the possession of their property and the
 management of their businesses pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
 The Debtors have, with the Bankruptcy Court’s approval, employed and retained (a) Cozen
 O’Connor as their bankruptcy counsel; (b) Stevens & Lee as special labor and conflicts counsel;
 (c) Phoenix, as their restructuring advisor; and (d) various other ordinary course professionals.

 A.      Significant “First Day” Motions

         Immediately after the filing of their chapter 11 petitions, the Debtors filed numerous
 “first day” motions seeking orders from the Bankruptcy Court authorizing the Debtors to retain
 professionals, provide the Debtors certain relief from certain administrative requirements
 imposed by the Bankruptcy Code, provide for the payment of certain Claims, provide for the
 approval of debtor-in-possession financing, and seek other relief to ensure a smooth transition
 into bankruptcy. These orders were requested to ease the strain on the Debtors’ relationships
 with customers, employees and others as a consequence of the filing. In particular, the Debtors
 obtained orders approving the following motions and applications:

        Verified Motion for an Order Directing Joint Administration and Procedural
 Consolidation [Docket No. 3];

        Verified Motion for Entry of Interim and Final Orders (I) Authorizing and Approving
 Postpetition Financing; (II) Granting Liens and Security Interests and Providing Superpriority
 Administrative Expense Status; (III) Modifying Automatic Stay; and (IV) Scheduling Final
 Hearing, Pursuant to §§ 105, 362, 363 and 364 of the Bankruptcy Code and Federal Rules of
 Bankruptcy Procedures 2002 and 4001(c) and (d) [Docket No. 18] (the “DIP Motion”);

        Verified Motion for an Order Authorizing the Debtors to Maintain Current Bank
 Accounts, Maintain Their Pre-Petition Cash Management System, and Use Existing Business
 Forms [Docket No. 4];

         Debtors’ Verified Motion for an Order Authorizing But Not Directing Payment of Pre-
 Petition Wages, Salaries, Compensation, Employee Benefits, Business Reimbursement
 Expenses, Certain Union Payments, and the Continuation of the Debtors’ Workers’
 Compensation Program and Policies Pursuant to 11 U.S.C. §§ 105(a), 507(a)(4) and (5) [Docket
 No. 5];

        Verified Motion for Interim and Final Orders: (I) Prohibiting Utility Companies form
 Discontinuing, Altering or Refusing Services; (II) Deeming Utility Companies to Have Adequate
 Assurance of Payment; and (III) Establishing Procedures for Determining Requests for
 Additional Assurance Pursuant to 11 U.S.C. § 366 [Docket No. 6];


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        Verified Motion for an Order Authorizing the Debtors to Pay Pre-Petition Sales and Use
 Taxes [Docket No. 7];

        Application for Retention of Epiq Bankruptcy Solutions, LLC, as Official Noticing
 Claims and/or Solicitation and Balloting Agent for the Debtors [Docket No. 10];

        Debtors’ Verified Motion for an Order Establishing a Bar Date Pursuant to Fed. R.
 Bankr. P. 2002(a)(7) and 3003(c)(3) [Docket No. 9];

        Motion for an Order Pursuant to 11 U.S.C. §§ 105(a) and 331 Establishing Procedures for
 Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 11]; and

        Debtors’ Motion to: (I) to Confirm Grant of Administrative Expense Status to
 Obligations Arising from Postpetition Delivery of Goods; (II) Establish Authority to Pay Certain
 Expenses in the Ordinary Course of Business and (III) Prohibit Third Parties from Interfering
 with Delivery of Good [Docket No. 8].

 B.      Formation and Participation of Committee

        On March 31, 2008, the Office of the United States Trustee formed the Official
 Committee of Unsecured Creditors (the “Committee”) comprised of the following creditors:
 Alcan, Inc.; RUSAL America Corp.; PSE&G; Glencore Ltd.; Coil Plus PA, Inc.; Perfect Trade
 Development Co./Kotech Industry and Co. Ltd.; UPS; Acme Corrugated Box Co.; and
 Colorworks Graphic Services, Inc. At the Committee’s first meeting, it retained Halpern
 Battaglia Raicht, LLP and Cole, Schotz, Meisel, Forman & Leonard, P.A. as its co-counsel, and
 J.H. Cohn as its financial advisor. The Committee has been an active participant in all aspects of
 these Chapter 11 Cases and championed the process by which Arch Acquisition was installed as
 the DIP term lender and Plan Funder in replacement of Arcus (as more fully described below).

 C.      Arch Acquisition’s Replacement of Arcus

         Approximately two weeks after the Petition Date, on or about April 1, 2008, Arch
 Acquisition I, LLC (“Arch Acquisition”), an affiliate of Signature Aluminum and H.I.G. Capital
 Partners (“H.I.G.”), filed an objection to the Debtors’ DIP Motion in which it expressed an
 interest in providing an alternative debtor in possession financing arrangement on better terms
 and participating in a sale process pursuant to Section 363 of the Bankruptcy Code or through a
 revised plan. As further evidence of it commitment to an open and competitive process, Arch
 Acquisition provided the Debtors and the Committee with, inter alia, a Debtor-in-Possession
 Financing Agreement which Arch Acquisition believed was on better terms than the financing
 proposed by Arcus, a proposed order approving such financing from Arch Acquisition, and an
 asset purchase agreement providing for a purchase price which Arch Acquisition believed was in
 excess of the value provided in the Arcus plan. Upon request of the Committee, Arch
 Acquisition converted its asset purchase agreement to a plan of reorganization which Arch
 Acquisition believed was better than the Arcus plan, including but not limited to a pool of funds
 for general unsecured creditors of $5 million (as opposed to the $500,000 unsecured pool
 provided in the Arcus sponsored plan).



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         On May 1, 2008, after Arch Acquisition completed its due diligence and extensive
 discovery propounded by the Committee and Arcus and several days of depositions, Arch
 Acquisition provided the Debtors with a commitment letter for financing the alternative
 transaction and CIT advised the Debtors that the CIT Lenders would continue funding the
 Debtors’ operations if Arch Acquisition replaced Arcus. Arch Acquisition’s alternative DIP
 financing package and alternative plan (the “Arch Acquisition Alternative Proposal”) was now
 free of any due diligence contingencies and any financing contingencies with respect to the
 debtor-in-possession financing and the exit financing under the alternative plan; provided for the
 CIT Lenders’ continued funding under its debtor-in-possession revolver facility; included more
 favorable (less restrictive) covenants and lower interest and fees; provided a higher return for
 unsecured creditors; and included a more full and open process for the submission of competing
 proposals, to ensure that the value of the Debtors’ estates would be maximized.

        Upon becoming aware that Arch Acquisition had financing commitments and the CIT
 Lenders’ agreement to continue funding under its DIP Revolver Agreement (defined hereinafter),
 the Debtors determined that the Arch Acquisition Alternative Proposal was higher and better
 than the Arcus plan. The Debtors then advised Arcus that the Debtors were not prepared to
 proceed with the hearing on the Arcus plan’s disclosure statement and that the Debtors believed
 it was in the best interests of the estates to proceed with the Arch Acquisition Alternative
 Proposal.

         After intense negotiations between and among the Debtors, the Committee, Arcus, the
 CIT Lenders, and Arch Acquisition throughout the day on May 1, 2008, including a Chambers
 conference with the Bankruptcy Court, the parties reached an agreement whereby, among other
 things, Arcus would assign to Arch Acquisition its rights under its debtor in possession financing
 agreement with the Debtors, and Arch Acquisition would become the plan sponsor under an
 amended plan and disclosure statement to be filed by May 12, 2008.

          The Debtors’ decision to proceed with the Arch Acquisition Alternative Proposal was
 announced to the Bankruptcy Court late in the day on May 1, 2008 and the parties agreed to
 submit final orders approving the debtor-in-possession financing and the settlement among the
 parties.

          On May 6, 2008 (after extensive negotiations among the parties over a four day period,
 and after another Chambers conference and a telephonic hearing among the parties), the
 Bankruptcy Court entered orders granting final approval of the debtor in possession financing
 facilities from the CIT Lenders and Arcus (which was immediately assigned to Arch
 Acquisition) to the Debtors (the “Final DIP Orders”).

 D.      Competitive Process

        Confirmation of the Plan, as filed, is subject to a Competitive Process that has been put in
 place pursuant to a separate motion filed by the Debtors on May 12, 2008 (the “Competitive
 Process Motion”), which motion is incorporated in its entirety herein by reference. On May 19,
 2008, the Bankruptcy Court entered an order, a copy of which is attached as Exhibit “H”
 approving the competitive process.



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         Under the Competitive Process, Arch Acquisition will serve as the stalking horse bidder
 for the equity of Reorganized Shapes/Arch pursuant to the Plan. The Competitive Process will
 be conducted through a Sales Consultant who will solicit higher and better offers in the form of
 the Plan proposed by Arch Acquisition in consideration for the equity of Reorganized
 Shapes/Arch. If one or more Qualified Bids are received by the Bid Deadline (as defined in the
 Competitive Process Motion) then an auction will be held on June 27, 2008 at 10:00 a.m.
 (Eastern Time).

        Any party wishing to obtain information with respect to submitting a competing bid
 should contact the Sales Consultant as follows:

         J. Scott Victor
         NatCity Investments, Inc.
         300 Barr Harbor Drive
         West Conshohocken, PA 19428
         Phone: 610-940-5802
         Email: JScott.Victor@NationalCity.com

         The Debtors believe that the Competitive Process will both maximize the return for all
 creditors of these estates, and provide an adequate market test to ensure that fair value is paid and
 received for the equity in the Reorganized Debtors.

 E.      DIP Financing and Use of Cash Collateral

         1.       DIP Financing

         Essential to the Debtors’ efforts to reorganize was obtaining a source of post-petition
 funding. To that end, on March 16, 2008, the Debtors filed the DIP Motion. Interim Orders
 were entered on March 18 granting the relief requested in the DIP Motion, subject to a final
 hearing on the same. By Orders entered on April 9, April 10 and April 23, 2008, and the “So
 Ordered” record of the Final Hearing of May 1, 2008, respectively, the interim financing was
 extended on an interim basis through May 5, 2008 at 5:00 p.m. On May 6, 2008, the Bankruptcy
 Court entered the Final DIP Orders. By and through the Final DIP Orders the Bankruptcy Court
 approved the DIP Motion and authorized the Debtors to enter that certain Debtor-in-Possession
 Loan and Security Agreement by and between the Debtors and Arch Acquisition (the “DIP
 Agreement”). Pursuant to the terms of the DIP Agreement, Arch Acquisition has made
 $30,000,000 available to the Debtors. As of the anticipated date of the Confirmation Hearing,
 the Debtors estimate that they will have drawn approximately $26,700,000.00 under the DIP
 Agreement. The Obligations (as defined in the Final DIP Order) are secured by valid and
 perfected priming liens and security interests granted to Arcus Funding (and now assigned to
 Arch Acquisition) on all of the Debtors’ assets and properties (subject to a first lien in favor of
 the CIT Lenders on the Inventory and Accounts Receivable and such other property as more
 fully set forth in certain Amended Intercreditor Agreement dated May 6, 2008). By and through
 the Final DIP Orders, the Bankruptcy Court also approved a $60,000,000.00 Debtor-in-
 Possession Revolving Credit Agreement with the CIT Lenders (“DIP Revolver Agreement”) to
 fund operations pending confirmation of the Plan. The Debtors expect that the balance due



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 under the DIP Revolving Agreement as of the anticipated date of the Confirmation Hearing will
 be approximately $54,600,000 (including outstanding letters of credit).

 F.      Claims Process

         1.       Last Date to File Proofs of Claim

         On March 18, 2008, the Bankruptcy Court entered an order (the “Bar Date Order”)
 [Docket No. 35] generally requiring any Person holding or asserting a Claim against the Debtors
 to file a written proof of claim with Debtors, c/o Epiq Bankruptcy Solutions, LLC, 757 Third
 Avenue, New York New York 10017 on or before 5:00 p.m., prevailing Eastern Time on May
 15, 2008. The Bar Date Order provided that any person or entity failing to timely file a proof of
 claim will be forever barred, estopped and enjoined from (a) asserting a timely filed claim
 against the Debtors that the entity has that (i) is in an amount that exceeds the amount, if any,
 that is identified in the Schedules on behalf of such entity as undisputed, noncontingent and
 liquidated (if no amount is identified therein for that entity then the entity shall be forever barred,
 estopped and enjoined from asserting any claim at all against the Debtors) or (ii) is of a different
 nature or a different classification than any claim identified in the Schedules of Assets and
 Liabilities on behalf of such entity; or (b) voting upon, or receiving distributions under, any plan
 or plans of reorganization in this case in respect of a Claim. The Bar Date Order provides other
 bar dates in other circumstances as set forth in that order.

        On May 19, 2008, the Debtors filed a motion to fix a date for the filing of Administrative
 Claims that arose on or prior to June 15, 2008, including, without limitation, Claims arising
 under section 503(b)(9) of the Bankruptcy Code, but specifically not including Fee Claims. The
 Debtors requested an Administrative Claims bar date of June 30, 2008.

                    VI.    DESCRIPTION OF SIGNIFICANT LITIGATION

 A.      Preferences, Fraudulent Transfers and Other Avoidance Actions

         Pursuant to section 547 of the Bankruptcy Code, a debtor may recover certain preferential
 transfers of property, including Cash, made while insolvent during the ninety (90) days
 immediately prior to the filing of its bankruptcy petition with respect to pre-existing debts to the
 extent the transferee received more than it would have in respect of the pre-existing debt had the
 transferee not received the payment and had the debtor been liquidated under chapter 7 of the
 Bankruptcy Code. In the case of “insiders,” the Bankruptcy Code provides for a one-year
 preference period.

         Transfers made in the ordinary course of the debtor’s and the transferee’s business
 according to the ordinary business terms are not recoverable. Furthermore, if the transferee
 extended credit subsequent to the transfer (and prior to the commencement of the bankruptcy
 case), such extension may constitute a defense, to the extent of any new value, against any
 otherwise recoverable transfer of property. If a preferential transfer were recovered by the
 debtor, the transferee would have a general unsecured claim against the debtor to the extent of
 the debtor’s recovery.



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        The Debtors estimate that they made payments in the approximate amount of
 $61,122,757.00 to various creditors within the ninety-day period preceding the Petition Date and
 payments of $5,035,451.00 to insiders within the one-year period preceding the Petition Date.
 The Debtors have not yet analyzed whether any of these payments are preferences (within the
 meaning of the Bankruptcy Code) or whether the recipients of such payments would have a
 defense to a preference action, if commenced. However, it is anticipated that the Class 10
 Liquidation Trustee will conduct such an analysis and commence appropriate actions which may
 ultimately increase the net dividend to Class 10 Unsecured Creditors but the amount of such
 increase, if any, is difficult to determine at this time.

         Under section 548 of the Bankruptcy Code and various state laws, a debtor may recover
 certain prepetition transfers of property, including the grant of a security interest in property,
 made while insolvent to the extent the Debtors received less than fair value for such property. In
 addition, avoidance actions exist under sections 544, 545, 549 and 553(b) of the Bankruptcy
 Code that allow a debtor to avoid and/or recover certain property. As of the date of the
 distribution of this Disclosure Statement, the Debtors have not yet estimated the potential
 recovery from the prosecution of their Avoidance Actions. Under the Plan, the Avoidance
 Actions will be transferred to the Liquidation Trust, and a Class 10 Liquidation Trustee will have
 the authority to investigate and prosecute all such Avoidance Actions.

 B.      Other Causes of Action

         1.       Investigation of Causes of Action

         The Debtors have not, but may, investigate causes of action against a number of Persons,
 relating to, among other things, the following:

       •        Any lawsuits for, or in any way involving, the collection of accounts receivable or
 any matter related to the Plan;

         •      Any actions against landlords, lessees, sublessees, or assignees arising from
 various leases, subleases, and assignment agreements relating thereto, including, but not limited
 to, actions for overcharges relating to taxes, common area maintenance and other similar
 charges;

         •      Any litigation or lawsuit initiated by the Debtors that is currently pending,
 whether in the Bankruptcy Court, before the American Arbitration Association or any other court
 or tribunal;

       •       Any and all potential causes of action against any customer or vendor who has
 improperly asserted or taken action through setoff or recoupment; and

         •      Any and all actions, whether legal, equitable, or statutory in nature, arising out of,
 or in connection with, the Debtors’ business operations.

         Estate Actions shall be transferred to the Liquidation Trust upon the Effective Date. The
 Debtors do not believe there are any causes of action against any of their current managers and
 officers (without prejudice to the Committee’s right to investigate and pursue the same prior to

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 the Effective Date and the Class 10 Liquidation Trustee’s right to investigate and pursue such
 claims thereafter). The Debtors currently have a directors’ and officers’ insurance policy which
 expires on April 30, 2009 in the amount of $3,000,000.00. The Committee is in the process of
 investigating the extent to which causes of action may exist against managers and officers and
 has delivered a notice apprising the Debtors’ insurance carrier of potential claims against
 managers and officers. The Debtors investigated the extent, validity and priority of the CIT
 Lenders’ claims and liens and have determined there is no basis to challenge the same (subject
 only to the Committee’s rights to investigate the same under and subject to applicable orders of
 the Bankruptcy Court). The Committee is in the process of investigating the extent, validity and
 priority of the CIT Lenders’ liens and has until June 16, 2008 to challenge the CIT Lenders’ liens
 and assert any claims against the CIT Lenders under and subject to the terms of the Final DIP
 Orders.

         In addition, there may be other causes of action which currently exist or may
 subsequently arise that are not set forth in the Plan or Disclosure Statement, because the facts
 upon which such causes of action are based are not fully or currently known by the Debtors and
 as a result, cannot be raised during the pendency of the case (collectively, “Unknown Causes of
 Action”). The failure to list any such Unknown Cause of Action in the Plan or the Disclosure
 Statement is not intended to limit the rights of the Reorganized Debtors, to pursue any Unknown
 Cause of Action to the extent the facts underlying such Unknown Cause of Action become fully
 known to the Debtors and Reorganized Debtors.

         2.       Preservation of All Causes of Action Not Expressly Settled or Released

        The Debtors have attempted to disclose all material Estate Actions, including Avoidance
 Actions and other actions that they may hold against third parties. However, the Debtors have
 not performed an extensive investigation or analysis of potential claims and Estate Actions
 against third parties. The Debtors contemplate that such investigation and analysis will occur
 post-Confirmation by the Reorganized Debtors or the Class 10 Liquidation Trustee, as
 applicable. You should not rely on the omission of the disclosure of a claim or cause of action to
 assume that the Debtors hold no claim or cause of action against any third-party, including any
 Creditor that may be reading this Disclosure Statement and/or casting a Ballot. In addition, the
 Debtors have no knowledge or information as to whether the Liquidation Trust will or will not
 pursue the Avoidance Actions or Estate Actions after the Effective Date.

         Unless expressly released by the Plan or by an order of the Bankruptcy Court, any and all
 Avoidance Actions or Estate Actions against third parties are specifically reserved and will be
 transferred to the Liquidation Trust.

         The Debtors’ failure to identify a claim or cause of action herein is specifically not a
 waiver of any claim or cause of action. The Debtors will not ask the Bankruptcy Court to rule or
 make findings with respect to the existence of any cause of action or the value of the entirety of
 the Estate at the Confirmation Hearing; accordingly, except claims or causes of action which are
 expressly released by the Plan or by an Order of the Bankruptcy Court, the Debtors’ failure to
 identify a claim or cause of action herein shall not give rise to any defense of any preclusion
 doctrine, including, but not limited to, the doctrines of res judicata, collateral estoppel, issue
 preclusion, claim preclusion, waiver, estoppel (judicial, equitable, or otherwise), or laches with

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 respect to claims or causes of action which could be asserted against third parties, including
 Creditors of the Debtors which may be reading this Disclosure Statement and/or casting a Ballot
 except where such claims or causes of action have been released in the Plan or the Confirmation
 Order or other order of the Bankruptcy Court.

 C.      Claims Concerning the Environmental Protection Agency and other Environmental
         Claims.

          Numerous Environmental Claims have been asserted against one or more Debtors as
 more fully set forth in Schedule 4.4 to the Plan. The Debtors believe that most if not all of the
 claims are covered by applicable insurance policies. A schedule of the Debtors’ insurance
 coverage is attached hereto as Exhibit “G.” Without effecting the obligations of any third parties
 (i.e. insurance companies), Environmental Claims are treated as Class 9 Claims and shall be paid
 from proceeds of applicable insurance policies. Based upon Exhibit G, and subject to the
 following summary, Shapes believes that it has available general liability insurance coverage
 totaling approximately $10-$11 million, and excess insurance coverage of approximately $145
 million to fund these Environmental Claims. Any Deficiency Claims relating to Environmental
 Claims shall be treated as Class 10 General Unsecured Claims and will be discharged. A brief
 description of the Environmental Claims is set forth below.

Ewan Superfund Site, Shamong Township, New Jersey

         The Ewan Superfund Site is an Environmental Protection Agency (“EPA”) National
 Priorities List (“NPL”) site and the identification number is EPA ID#
 NJD980761365/NJD0200791. Aluminum Shapes, Inc., (a predecessor to Shapes and to Ben
 LLC) (“Aluminum Shapes”) and other parties have been identified as potentially responsible
 parties (“PRP”) and have received Section 106 Orders pursuant to the Comprehensive
 Environmental Response, Compensation and Liability Act (“CERCLA”). The Orders were
 effective in June 1990 and May 1995. The June 1990 Section 106 Order required Aluminum
 Shapes and other PRPs to undertake and complete all response actions for the Operable Unit 1 at
 the NPL site. The May 1995 Section 106 Order requires Aluminum Shapes, in addition to other
 PRPs to undertake and complete all response actions required for remediation of the groundwater
 (which is designated as “Operable Unit 2”). Shapes’ liability is premised upon the allegation that
 it arranged for the transport of hazardous substances which were allegedly released at the Ewan
 Superfund Site. Groundwater at the site has been actively remediated since 1999.

         Future operations and maintenance activities may take less time than originally
 anticipated depending upon groundwater sampling results being analyzed at this time (the 2.5
 year sampling data was collected in March 2008). The EPA has approved limited shut downs of
 parts of the treatment systems based upon the sampling results.

        Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the
 early 1980’s have paid defense and/or indemnity costs to date. These insurance carriers include
 the following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation and The PMA Group.
 There are insurance policies for excess/umbrella coverage. To the best of the Debtors’
 knowledge, these excess carriers have been placed on notice of this matter. To date, the excess

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 carriers have not made any payment(s) in this matter. There is no guarantee that the insurance
 carriers will pay or continue to pay the defense and/or indemnity costs in the future.

         The New Jersey Department of Environmental Protection (“NJDEP”) filed a complaint
 alleging that certain parties were liable for Natural Resource Damages (“NRD”). Shapes was
 named as a defendant in an amended complaint that was filed on February 12, 2008. The State
 also seeks compensation for damages to wetlands that were allegedly damaged during the
 remediation activities that have occurred to date.

        Aluminum Shapes’ liability as to CERCLA response costs and NRD have not been
 determined.

 D’Imperio Superfund Site, Hamilton Township, New Jersey

         The D’Imperio Superfund Site is an EPA NPL site and has the following site
 identification number: EPA ID# NJD980529416. Shapes and other parties were identified as
 PRPs and received Section 106 Administrative Orders pursuant to CERCLA which were
 effective in August 1993 and in 2003. The Orders require the PRPs to implement the remedial
 design for the remediation of groundwater and require the PRPs to conduct additional response
 costs as specified in the Statement of Work. The basis for CERCLA liability for Aluminum
 Shapes is the allegation that it arranged for the disposal of hazardous substances which were
 allegedly released at the D’Imperio Superfund Site.

         Groundwater has been actively remediated at the Site for approximately 10 years.
 Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the early
 1980’s have paid defense and/or indemnity costs to date. The insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation and The PMA Group,
 There are insurance policies for excess/umbrella coverage. To the best of Debtors’ knowledge,
 these excess carriers have been placed on notice of this matter. To date, the excess carriers have
 not made any payment(s) in this matter. There is no guarantee that the insurance carriers will
 pay or continue to pay the defense and/or indemnity costs in the future.

        Shapes was a party to an October 1, 2002 settlement agreement with the NJDEP
 regarding Natural Resource Damages claims and oversight costs. The settlement amount totaled
 $495,000.

         Aluminum Shapes’ liability as to CERCLA response costs have not been determined.

 Swope Oil and Chemical Company Superfund Site, Pennsauken, New Jersey

         The Swope Oil and Chemical Company Superfund Site is an EPA NPL Site and has the
 following identification number: EPA ID# NJD041743220. The ongoing remediation of this
 Site involves the remediation of three operable units: Operable Unit 1 (surficial contamination),
 Operable Unit 2 (contaminated subsurface soils which serve as a source for the groundwater
 contamination) and Operable Unit 3 (groundwater contamination). EPA has indicated that there
 may also be a vapor intrusion issue although this particular issue has not been delineated at this


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 time. Nevertheless, EPA is requiring the PRPs to evaluate the existence of a vapor intrusion
 pathway into buildings that are adjacent to the Superfund Site.

         Aluminum Shapes and other parties received a Section 106 Administrative Order
 pursuant to CERCLA which was effective on August 16, 1986. The Order requires the
 submission of a Statement of Work based upon the sampling results, the submission of a Final
 Design and Operations Plan and the implementation of remedial work. The Order also requires
 the PRPs to remove the drums and the contents of onsite tanks and vessels as well as, all
 structures and requires the sampling and removal of onsite soils.

        Shapes and other parties are also subject to an Administrative Settlement Agreement and
 Order on Consent, for the Supplemental Remedial Investigation and Focused Feasibility Study
 dated September 27, 2006 for Operable Unit 3 (groundwater contamination) pursuant to Sections
 104, 107 and 122 of CERCLA. This particular Order also requires reimbursement of all future
 response costs that are incurred by EPA in connection with this Superfund Site. A claim has not
 been made by EPA or NJDEP for Natural Resource Damages.

        A judicial Consent Decree was executed for this Superfund Site in 1993 but Shapes was
 not a party to the Consent Decree. The Consent Decree pertained to remedial design and action
 for Operable Unit 2.

        According to EPA/Region II, the final response costs have not been estimated for this
 Superfund Site. Although EPA has performed some removal actions at this Superfund Site, it
 has been reimbursed for these costs by the PRPs. EPA is billing the PRPs for all oversight costs
 at an approximate amount of $10,000 per year depending upon the remedial work that is
 undertaken for any given year.

         Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the
 early 1980’s, have paid the indemnity and/or defense costs to date. These insurance carriers
 include the following: Liberty Mutual Insurance Company, New Jersey P&L Insurance
 Guarantee Association on behalf of Reliance Insurance Company in Liquidation, and Century
 Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
 Company of North America,. There are insurance policies for excess/umbrella coverage. To the
 best of Debtors’ knowledge, these excess carriers have been placed on notice of this matter. To
 date, the excess carriers have not made any payment(s) in this matter. There is no guarantee that
 the insurance carriers will pay or continue to pay the defense and/or indemnity costs in the
 future. Shapes’ liability for CERCLA response costs have not been determined.

 Puchack Wellfield, Pennsauken Township, New Jersey

         There are two distinct issues related to the Puchack Wellfield.

         First, the Puchack Wellfield Superfund Site is an EPA NPL site: The EPA site
 identification number is: EPA ID# NJD981084767. The EPA issued a Record of Decision on
 September 28, 2006. The EPA has not identified Shapes as a PRP for chromium at this site.
 According to EPA/Region II, the site is contaminated with chromium and other hazardous
 substances and there are two operable units. Operable Unit 1 pertains to the remediation of


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 groundwater and Operable Unit 2 pertains to the remediation of the source areas.                             The
 investigation and remediation of this NPL site is ongoing.

         Shapes received an information request from EPA pursuant to Section 104(e) of
 CERCLA on December 15, 1999. Shapes responded to the Section 104(e) information request
 but, as noted, has not been identified as a PRP for this NPL site. EPA believes that chlorinated
 solvents are ubiquitous in this area of New Jersey and has deferred all investigations and
 remediation oversight to NJDEP.

         According to EPA/Region II, past response costs total approximately $11.4 million and
 future response costs total approximately $17.1 million although the remedial costs may be
 higher.

        Second, Shapes received a Directive and Notice to Insurers dated October 31, 1997 and
 Supplemental Directives and Notice to Insurers issued by NJDEP on May 7, 1992, October 27,
 1995 and May 17, 1996. The Directives were issued based upon the premise that Shapes, along
 with other parties, had allegedly discharged chromium and other hazardous substances
 unlawfully to groundwater. The Directives required Shapes to pay costs associated with the
 construction of a potable water treatment system and for remedial investigation work. Other
 than the issuance of the Directives, the NJDEP has taken no action or role in the Puchack
 Wellfield investigation.

         Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the
 early 1980’s, have paid defense and/or indemnity costs to date. These insurance carriers include
 the following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation, The PMA Group and
 Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
 Company of North America. There are insurance policies for excess/umbrella coverage. To the
 best of Debtors’ knowledge, these excess carriers have been placed on notice of this matter. To
 date, the excess carriers have not made any payment(s) in this matter. There is no guarantee that
 the insurance carriers will pay or continue to pay the defense and/or indemnity costs in the
 future. There has been no formal claim by EPA or the State of New Jersey for Natural Resource
 Damages.

        Shapes liability for CERCLA response costs and costs owed to the State of New Jersey
 have not been determined.9



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    In 2002, Shapes and others were sued in a private action, Harris et al. v. Advance Process Supply Co., et al.,
 (Docket No.: L-03815-02, Superior Court, Camden County, NJ). This was a proposed class action which allegedly
 emanates from the Puchack Wellfield. Class certification was denied on June 30, 2006 and a Summary Judgment
 was granted to the defendants after the plaintiffs proceeded individually on their alleged claims on the following
 dates: January 27, 2007, February 27, 2007 and July 31, 2007. On April 8, 2008, the Appellate Division dismissed
 Shapes without prejudice due to the automatic stay. Shapes’ general liability insurance carriers have paid defense
 costs to date. These insurance carriers include Liberty Mutual Insurance Company, New Jersey P&L Insurance
 Guaranty Association on behalf of Reliance Insurance Company in Liquidation, The PMA Group and Century
 Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company of North
 America.

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 Lightman Drum Company Superfund Site, Winslow Township, New Jersey

         The Lightman Drum Company Superfund Site is an EPA NPL site and the EPA site
 identification number is EPA ID# 02-2000-2034.

         In November 2000, the EPA issued an Administrative Order on Consent for Remedial
 Investigation and Feasibility Study. Shapes did not consent to the Order and is not a party to it.
 Shapes remains involved at the Site as a participating party. The Order requires the preparation
 and performance of the remedial investigation and feasibility study and further requires the
 reimbursement of response costs incurred by EPA.

         EPA also issued an Administrative Order on Consent for a Removal Action in 2007.
 Shapes is not a party to that Order but remains a participating PRP. The Removal Action Order
 is limited to excavation of certain contaminated soils on the Lightman Site which were believed
 to be contributing to the source of one of the groundwater plumes. The 2007 Order requires the
 parties to conduct removal actions and to reimburse EPA for response costs incurred for all
 removal actions and all future response costs.

         According to the EPA/Region II, a feasibility study was submitted to the Agency in
 December 2007 and soil excavation was undertaken in the vicinity of the former waste storage
 tank area. The December 2007 Feasibility Study lists several technologies for remediation of
 soils and groundwater onsite and for remediation of offsite, downgradient groundwater.
 According to the Feasibility Study, the most expensive combination of the technological
 alternatives is estimated to cost $14,860,000 for all of these components.

        According to the EPA/Region II, the Agency has not estimated the response costs
 associated with the final remedy for the site. EPA is billing the PRPs for oversight costs at
 approximately $10,000 per year depending upon the remedial work implemented for that year.
 In February 2008, EPA expressed a preference for an Air Sparging, Soil Vapor Extraction
 remedy as the on site soil and groundwater component. This component was estimated as
 $5,680,000 of the above cited $14,860,000 estimated by the site consultant. EPA has not
 decided on a remedy for the downgradient groundwater remediation component.

         Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the
 early 1980’s have paid defense and/or indemnity costs to date. These insurance carriers include
 the following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation and The PMA Group.
 There are insurance policies for excess/umbrella coverage. To the best of Debtors’ knowledge,
 these excess carriers have been placed on notice of this matter. To date, the excess carriers have
 not made any payment(s) in this matter. There is no guarantee that the insurance carriers will
 pay or continue to pay the defense and/or indemnity costs in the future.

         Shapes’ liability for CERCLA response costs have not been determined.




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 9000 River Road, Pennsauken, New Jersey

         Shapes currently owns and operates at 9000 River Road, Pennsauken, New Jersey.
 NJDEP issued a Directive and Notice to Shapes and insurers on June 2, 1992 requiring
 Aluminum Shapes to address alleged violations of: discharge limits for process wastewater,
 stormwater runoff and contact cooling water. The alleged contaminant of concern is chromium.
 A Supplemental Directive No. 1 was issued on July 16, 1992, to Aluminum Shapes and the
 insurers directing Aluminum Shapes to address alleged chromium discharges onto the property
 and into groundwater. The Directive also required Aluminum Shapes to identify and address all
 sources contributing to the alleged chromium contamination in the soils and the groundwater at
 the facility and to prevent the migration of the alleged chromium contamination. Shapes has
 conducted investigations at this facility to date and has been cooperating with NJDEP. At
 present, Shapes is waiting for a response from the Agency as to its proposed work plans.

       A Memorandum of Agreement (“MOA”) was executed between NJDEP and Aluminum
 Shapes on July 1, 1993 and an Amendment to the MOA was executed on July 7, 2007 for
 chromium only.

        The agreements require Shapes to conduct investigation, remediation and to cooperate
 with the State of New Jersey in connection with its review of the proposed investigations and
 remediation of the facility. Shapes has submitted two (2) Remedial Investigation Work Plans to
 NJDEP and a response is pending. Shapes’ environmental consultant (Roux Associates) has
 estimated that the response costs will range from $1.3 million to $1.8 million including any costs
 for Natural Resource Damages. Shapes will continue to perform the obligations set forth in the
 MOA and the Amendment to the MOA for this facility to the extent insurance coverage exists.
 This amount reflects estimates for remediation efforts and does not include natural resources
 damages, which potential Claims are being addressed in Class 9.

         Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the
 early 1980’s have paid defense and/or indemnity costs to date. The insurance carriers include the
 following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company, in Liquidation, The PMA Group and
 Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
 Company of North America. There are insurance policies for excess/umbrella coverage. To the
 best of Debtors’ knowledge, these excess carriers have been placed on notice of this matter. To
 date, the excess carriers have not made any payment(s) in this matter. There is no guarantee that
 the insurance carriers will pay or continue to pay the defense and/or indemnity costs in the
 future.

 Pennsauken Solid Waste Management Authority, et al. v. Ward Sand Materials Co., Inc.,
 et al., Superior Court of New Jersey, Camden County, Law Division, Docket No.: L-13345-
 91.

        This case was filed by Pennsauken Township and the Authority that owns and operates
 the Pennsauken Landfill on December 4, 1991 as a contribution action under the New Jersey
 Spill Compensation and Control Act (N.J.S.A. 58.10-23.11 et. seq. and the Water Pollution
 Control Act N.J.S.A. 58:10 A-1 et.seq., Chapter 151 of the Pennsauken Township Ordinance

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 entitled “Garbage, Rubbish and Refuse” Code, and Chapter 270 of the Pennsauken Township
 Ordinance entitled “Nuisance, Public Health” Code of the Public Health Nuisance Code of New
 Jersey (1953) N.J.S.A. 26:3-69 to 3-69.6). The plaintiffs sued numerous defendants and alleged`
 that these defendants deposited various types of wastes in the landfill during the period from
 1970 to June 30, 1982. Aluminum Shapes was among those defendants sued by the plaintiffs.
 Hundreds of additional defendants were joined in the matter based on the alleged arrangement of
 transportation of their wastes to the landfill. The case is currently pending in the New Jersey
 Superior Court, Law Division, Camden County. The plaintiffs allege that any or all of the
 defendants are responsible for clean up and removal costs associated with groundwater
 contamination caused by the wastes in the landfill. Plaintiffs have made a claim for
 approximately $28 million for past clean up and removal costs under the Spill Act. Plaintiffs
 have submitted expert reports claiming $41 million in future clean-up and removal costs. This
 case is in active litigation and a trial date is scheduled for September 2, 2008. Expert discovery
 is underway and concludes on July 31, 2008. Shapes’ potential liability for this site, has not been
 determined. Shapes’ alleged liability is premised upon its waste contaminating the groundwater
 underneath the Landfill. At this time, the groundwater flow direction is currently under
 investigation.

         Aluminum Shapes’ general liability insurance carriers from the late 1960’s through the
 early 1980’s , have paid defense and/or indemnity costs to date. These insurance carriers include
 the following: Liberty Mutual Insurance Company, New Jersey P&L Insurance Guaranty
 Association on behalf of Reliance Insurance Company in Liquidation, The PMA Group and
 Century Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance
 Company of North America. There are insurance policies for excess/umbrella coverage. To the
 best of Debtors’ knowledge, these excess carriers have been placed on notice of this matter. To
 date, the excess carriers have not made any payment(s) in this matter. There is no guarantee that
 the insurance carriers will pay or continue to pay the defense and/or indemnity costs in the
 future.

         Some of the objectors to the first disclosure statement filed by the Debtors (many of
 which are involved in the Pennsauken Solid Waste Management Authority matter), premised
 their objections upon their alleged lack of information regarding any potential insurance that may
 be applicable to the Debtors’ environmental matters. A schedule of Insurance was provided as
 part of a discovery response dated August 8, 1998 in that matter, a copy of which is annexed
 hereto as Exhibit “G.” Shapes responded to requests for discovery regarding insurance in
 accordance with the Case Management Orders governing the case, as well as the New Jersey
 Rules of Court.

 Chemical Control Corporation, Elizabeth, New Jersey

          The Chemical Control Corporation Superfund Site is an EPA NPL site and the EPA site
 identification number is EPA ID# NJD000607481. Shapes’ estimated percentage share of costs
 as a de minimis contributor was less that .0467 percent. Shapes’ liability with the EPA was
 settled.




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 Buzby Brothers Landfill Superfund Site, Voorhees New Jersey

        Buzby Brothers Landfill Superfund Site is an EPA NPL site and the EPA identification
 number is: EPA ID# NJD000305524. According to NJDEP, the remediation is essentially
 complete and the site continues to be monitored by General Electric. Aluminum Shapes’
 estimated percentage share was $40,000 and Aluminum Shapes was dismissed from liability
 pursuant to a February 10, 1995 Release, Indemnification and Settlement Agreement between
 General Electric and Settling Companies. The Settlement Agreement addressed past and future
 response costs but did not include costs associated with potential Natural Resource Damages.
 Accordingly, Shapes’ potential liability for natural resource damage claims has not been
 determined.

          A complaint was filed by the State of New Jersey against General Electric and Buzby
 Brothers Materials on June 27, 2007 in connection with Natural Resource Damages. The State is
 in settlement discussions with General Electric. Shapes has not been identified as a party to this
 matter.

         It is unknown as to whether Shapes’ insurance carriers will pay any additional response
 costs or Natural Resource Damages for this Superfund Site.

                          VII.    SUMMARY OF PLAN PROVISIONS

 A.      Introduction

         The Plan is the product of diligent efforts by the Debtors to formulate a plan that provides
 for a fair allocation of the Debtors’ assets in an orderly manner, consistent with the mandates of
 the Bankruptcy Code and other applicable law. The liquidation analysis prepared by the Debtors
 with the assistance of Phoenix reflects an aggregate value for the Debtors as more fully set forth
 in Exhibit “D” attached hereto. The aggregate Secured Claims of the CIT Lenders and Arch
 Acquisition will be in the approximate amount of eighty one million three hundred thousand
 dollars ($81,300,000.00) on the Confirmation Date.

        The Debtors believe that confirmation of the Plan provides the best opportunity for
 maximum recoveries to the Debtors’ Creditors and Interest holders. The Debtors believe, and
 will demonstrate to the Bankruptcy Court, that the Debtors’ Creditors will receive significantly
 more value under the Plan than any available alternative.

      THE FOLLOWING IS A SUMMARY OF SOME OF THE SIGNIFICANT ELEMENTS
 OF THE PLAN. THIS DISCLOSURE STATEMENT IS QUALIFIED IN ITS ENTIRETY BY
 REFERENCE TO THE MORE DETAILED INFORMATION SET FORTH IN THE PLAN.

 B.      Method of Classification of Claims and Interests and General Provisions

         1.       General Rules of Classification

        Generally, a Claim is classified in a particular Class for voting and distribution purposes
 only to the extent the Claim qualifies within the description of that Class, and is classified in
 another Class or Classes to the extent any remainder of the Claim qualifies within the description

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 of such other Class or Classes. Unless otherwise provided, to the extent a Claim qualifies for
 inclusion in a more specifically defined Class and a more generally-defined Class, it shall be
 included in the more specifically defined Class.

         2.       Administrative Claims, Priority Tax Claims, DIP Claims, and Fee Claims

         Administrative Claims, Priority Tax Claims and Fee Claims have not been classified and
 are excluded from the Classes set forth in Articles III and IV of the Plan in accordance with
 section 1l23(a)(1) of the Bankruptcy Code.

         3.       Bar Date for Administrative Claims

         Unless otherwise ordered by the Bankruptcy Court, requests for payment of
 Administrative Claims (except for Fee Claims and reasonable out of pocket expenses for
 Committee members) arising between June 16, 2008 and the Effective Date (Administrative
 Claims arising between the Petition Date and June 15, 2008 (including Administrative Claims
 under section 503(b)(9), but not including Fee Claims are to be filed by June 30, 2008, pursuant
 to a separate order of the Bankruptcy Court entered on or about May 23, 2008 the “First
 Administrative Claims Bar Date”)) must be filed and served on the Reorganized Debtors c/o
 Epiq, their claims agent, and the Class 10 Liquidation Trustee, and their respective counsel, no
 later than thirty (30) days after the Effective Date (the “Second Administrative Claim Bar
 Date”). Any Person that is required to file and serve a request for payment of an Administrative
 Claim and fails to timely file and serve such request, shall be forever barred, estopped and
 enjoined from asserting such Claim or participating in distributions under the Plan on account
 thereof. Objections to requests for payment of Administrative Claims (except for Fee Claims
 and reasonable out of pocket expenses for Committee members) must be filed and served on the
 Reorganized Debtors and Plan Administrator, and their respective counsel, and the party
 requesting payment of an Administrative Claim within twenty (20) days after the Second
 Administrative Claims Bar Date, or as otherwise fixed by the Bankruptcy Court.

         4.       Bar Date for Fee Claims

          Unless otherwise ordered by the Bankruptcy Court, requests for payment of Fee Claims
 incurred through the Effective Date, must be filed and served on the Reorganized Debtors and
 the Class 10 Liquidation Trustee and their respective counsel no later than thirty (30) days after
 the Effective Date (the “Fee Claim Bar Date”). Any Professional that is required to file and
 serve a request for payment of a Fee Claim and fails to timely file and serve such request, shall
 be forever barred, estopped and enjoined from asserting such Fee Claim or participating in
 distributions under the Plan on account thereof. Objections to Fee Claims must be filed and
 served on the Plan Administrator, its counsel, and the requesting party by twenty (20) days after
 the filing of the applicable request for payment of the Fee Claim or as otherwise fixed by the
 Bankruptcy Court.

         5.       Intercompany Claims

         Each of the Debtor entities have historically borrowed based on availability. Funds are
 lent or borrowed by each entity based on cash flow and/or cash needs. Due to the manner in
 which the companies have historically accounted for intercompany transactions, it is virtually

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 impossible to identify how much Shapes and Accu-Weld owe to each entity as well as how much
 Delair and Ultra are owed by each entity. Entities owe money, or are owed money, from a
 “pool”. The entities share certain services including, (i) commercial insurance; (ii) health
 insurance, dental, life, etc.; (iii) workers compensation; and (iv) minor incidental purchases –
 supplies, etc. Shapes charges a management fee of $2,000 per month to Delair, Ultra and Accu-
 Weld. The entities have intercompany transactions relating to the following activities:

                 (a)    Delair purchases the majority of its material requirements from Shapes;

                 (b)    Accu-Weld rents space in Delair’s building to manufacture doors;

                 (c)    Delair invoices Accu-Weld for labor, utilities and supplies;

                 (d)    Shapes owns Ultra’s building; Shapes charges rent to Ultra;

                 (e)    Shapes owns Delair’s building; Shapes charges rent to Delair.

         Given the complexities involved in trying to unravel the Intercompany Claims as well as
 the benefits derived from and for each of the Debtors’ estates to the other, given the blanket liens
 on all of the assets in favor of the CIT Lenders and Arch Acquisition, and further given the de
 minimus net effect on Class 10 Creditors as of the Effective Date, Intercompany Claims shall be
 extinguished. No distributions on account of Intercompany Claims will be made.

 C.      Unclassified Administrative Claims, Priority Tax Claims and Fee Claims

         Administrative Claims, Priority Tax Claims, and Fee Claims are not classified in the
 Plan. The treatment of and consideration to be received by holders of Allowed Administrative
 Claims, Allowed Priority Tax Claims, and Allowed Fee Claims shall be in full and complete
 satisfaction, settlement, release and discharge of such Claims. The Debtors’ obligations in
 respect of such Allowed Administrative Claims, Allowed Priority Tax Claims, and Fee Claims
 shall be satisfied in accordance with the terms of the Plan.

         1.       Administrative Consolidation

         For purposes of the Plan and for the administrative convenience of the parties, holders of
 Claims in each Debtor case shall receive the identical treatment referenced below and each
 unimpaired class and Impaired class shall be deemed to automatically apply in each case as if
 there were separate plans of reorganization filed in each case (provided that all Class 10
 Creditors of all Debtors shall receive their Pro-Rata Share of the Class 10 Pool Escrow). Holders
 of Interests in each case shall be treated as more fully set forth below. THIS PLAN DOES NOT
 PROVIDE FOR THE SUBSTANTIVE CONSOLIDATION OF THE DEBTORS ON THE
 EFFECTIVE DATE but the holders of Claims in Class 10 shall be deemed filed against the
 consolidated Debtors and shall be deemed one Claim against or obligation of the Debtors as if
 they were consolidated and shall receive one distribution in accordance with Section 4.5 of the
 Plan. Based upon the liquidation analysis attached hereto and based upon the fact that each of
 the Debtors are liable for the CIT DIP Claim and the Arch Acquisition DIP Claim, the Debtors
 believe the impact of the administrative (but not substantive) consolidation of the treatment of
 Class 10 Creditors will be nominal. Following the Effective Date of the Plan, creditors and

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 parties-in-interest shall continue to do business with each of the separate Reorganized Debtor
 entities as such creditors may elect.

         2.       Administrative Claims

         Except to the extent the holder of an Allowed Administrative Claim agrees otherwise,
 each holder of an Allowed Administrative Claim shall be paid in respect of such Allowed Claim
 (a) the full amount thereof in Cash, as soon as practicable after the later of (i) the Effective Date
 and (ii) the date on which such Claim becomes an Allowed Claim, or upon such other terms as
 may be agreed upon by the holder of such Allowed Claim, or (b) such lesser amount as the
 holder of such Allowed Administrative Claim and the Debtors prior to the Effective Date and the
 Reorganized Debtors following the Effective Date might otherwise agree. The total amount of
 unpaid Allowed Administrative Claims shall be subject to approval by the Bankruptcy Court. To
 be clear, administrative expenses incurred in the ordinary course of business shall be paid by the
 Reorganized Debtors in the ordinary course of business after the Effective Date.

         3.       Fee Claims

       Each holder of an Allowed Fee Claim shall receive 100% of the unpaid amount of such
 Allowed Fee Claim in Cash on the Effective Date or as soon as practicable after such Fee Claim
 becomes an Allowed Claim.

         The law firm of Cozen O’Connor shall serve as the professional fee disbursing agent (the
 “Disbursing Agent”) for the purpose of receipt and distribution of all funds required to be
 disbursed on account of Allowed Fee Claims. The Debtors shall deposit in an escrow account
 with the Disbursing Agent, within one (1) day before the Confirmation Hearing, an amount in
 Cash equal to the amount of the estimated incurred and unpaid Fee Claims. At least three (3)
 days before the Confirmation Date, each Professional asserting a Fee Claim shall serve on the
 Disbursing Agent an estimate of the maximum amount of unpaid compensation and
 reimbursement of expenses to be asserted in the Chapter 11 Cases from the Petition Date through
 the Effective Date.

         4.       Priority Tax Claims

         Except as provided herein, each holder of an Allowed Priority Tax Claim shall be paid in
 respect of such Allowed Claim either (a) the full amount thereof, without post-petition interest or
 penalty, in Cash, as soon as practicable after the later of (i) the Effective Date and (ii) the date on
 which such Claim becomes an Allowed Claim or upon such other terms as may be agreed upon
 by the holder of such Allowed Claim and the Debtors prior to the Effective Date and the
 Reorganized Debtors following the Effective Date might otherwise agree, or (at the election of
 the Debtors or the Reorganized Debtors) (b) over a period of five (5) years from the Petition
 Date in equal monthly installments of principal plus interest at the rate of six percent (6%) per
 annum provided, however, that the aggregate amount of Priority Tax Claims is not in excess of
 eighty four thousand six hundred sixty seven dollars ($84,667.00).




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         5.       Reclamation and Section 503(b)(9)Claims

         The Debtors have received certain reclamation demand letters and the same will be
 investigated for allowance. The Debtors have advised reclamation creditors that any alleged
 right of reclamation is subordinate to the claims of the CIT DIP Lenders and Arch Acquisition
 under Section 546(c)(1) and may have no value, but such creditors may have a claim under
 Section 503(b)(9). The Debtors estimate that Section 503(b)(9) claims (for the value of unpaid
 goods received during the 20 days prior to the Petition Date) is in the approximate amount of
 $1,014,053 for Shapes; $353,548.49 for Delair; $304,196.62 for Accu-Weld; and $841,808.69
 for Ultra. These estimates are preliminary and are subject to further review and investigation.
 The 503(b)(9) claims will most likely subsume any and all reclamation demands and all Allowed
 Section 503(b)(9) claims will be paid in the same manner as Administrative Claims set forth in
 subsection (C)(2) above.

 D.      Classification and Treatment of Unimpaired Claims and Interests

         1.      Class 1 Other Priority Claims

         Each holder of an Allowed Other Priority Claim shall be paid in respect of such Allowed
 Claim (a) the full amount thereof in Cash, as soon as practicable after the later of (i) the Effective
 Date and (ii) the date on which such Claim becomes an Allowed Claim, or upon such other terms
 as may be agreed upon by the holder of such Allowed Claim, or (b) such lesser amount as the
 holder of such Allowed Other Priority Claim and the Debtors prior to the Effective Date and the
 Reorganized Debtors following the Effective Date might otherwise agree, provided, however
 that the aggregate amount of the Other Priority Claims are not in excess of two million dollars
 ($2,000,000.00). Any Allowed Claim in this Class 1 for paid time off shall be satisfied in the
 ordinary course of business consistent with the Debtors’ employment policies and practices and
 shall not be included in the preceding cap. The holders of Claims in this Class are not impaired
 and, therefore, are not entitled to vote.

         2.      Class 2 Secured Real Estate Claims

         This Class shall consist of the holders of Allowed Secured Real Estate tax claims relating
 to the Delair Real Estate, Accu-Weld Real Estate, Shapes Real Estate and Ultra Real Estate.
 Each holder shall be deemed to be a separate subclass. Each member of the subclass shall have
 an allowed secured claim in the amount of real estate taxes due and owing as of the Petition Date
 (including any interest due and owing but excluding any late charges or penalties in the amount
 as set forth in the Debtors’ Schedules and Statement of Financial Affairs), provided, however,
 that the aggregate amount of the Secured Real Estate tax claims are not in excess of one million
 one hundred eleven thousand eight hundred seventy nine dollars eighty two cents
 ($1,111,879.82). At the option of the Plan Funder, upon the Effective Date, either (i) holders of
 Class 2 Claims shall be paid in full, in cash, or (ii) the collateral securing such Allowed Secured
 Real Estate Claim shall be turned over to the holder of such Claim. The Claims in Class 2 are
 not Impaired and, therefore, the holders of Claims in this Class are not entitled to vote.




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         3.      Class 3 Arch Acquisition DIP Claim

          On the Effective Date, at the election of the Plan Funder, the Arch Acquisition DIP Claim
 shall be (a) rolled over and the Arch Acquisition DIP Agreement shall be amended and restated
 as the Exit Facility, or (b) repaid in full from the proceeds of the Exit Facility, provided,
 however, that if for any reason Arch Acquisition or its designee is not the Plan Funder under a
 plan of reorganization confirmed by the Bankruptcy Court, the Arch Acquisition DIP Claim shall
 be repaid in full. The holder of Claims in this Class is not Impaired and, therefore, is not entitled
 to vote.

         4.      Class 4 CIT DIP Claim

          On the Effective Date, (i) the CIT DIP Claim shall be paid in cash (by wire transfer of
 immediately available funds) in full, including, without limitation, all accrued and unpaid
 interest at the contract rate and all costs, fees and expenses set forth in the CIT Revolving Loan
 DIP Agreements and (ii) to the extent that all or any portion of any letters of credit remain
 outstanding, the Reorganized Debtors shall also post cash collateral with CIT in the amount of
 105% of any such amounts with respect to such letters of credit, or such other treatment as is
 agreed to by CIT and the CIT Lenders. All terms, provisions, rights and benefits set forth in any
 or all of the CIT Revolving Loan DIP Agreements, which, by their respective terms, survive the
 termination of any such CIT Revolving Loan DIP Agreement and/or the payment of all
 Obligations (as defined in any of the CIT Revolving Loan Agreements), including, without
 limitation, all such indemnification, hold-harmless, exculpation and similar provisions
 (including, without limitation, the provisions of Sections 5.3, 7.12, 10.3, 14.7 (a) and 14.13 of
 the Amended and Restated Debtor-in-Possession Revolving Credit Agreement dated May 6,
 2008, as well as any similar provisions in other Financing Agreements) (the “Surviving
 Provisions”), shall not be discharged, terminated, limited or otherwise affected in a manner
 adverse to the CIT Lenders, by virtue of or pursuant to the Plan, the Confirmation Order, or
 otherwise, but rather all such Surviving Provisions shall remain in full force and effect and shall
 be and remain binding upon and enforceable against the Debtors and the Estates, the
 Reorganized Debtors, the Liquidation Trust and the Class 10 Liquidation Trustee, in the same
 manner as such Surviving Provisions may be enforced pursuant to the CIT Revolving Loan DIP
 Agreements. The holders of Claims in this Class are not Impaired and, therefore, are not entitled
 to vote.

         5.      Class 8 Miscellaneous Secured Claims

         To the extent there are any Allowed Secured Claims in this Class (and excluding any
 Secured Claims that are the subject of a different treatment as provided in a separate Secured
 Class), each such Claim shall be deemed to be a separate subclass. At the option of the Debtors
 prior to the Effective Date or the Reorganized Debtors after the Effective Date, holders of Class
 8 Claims shall receive either the return of the collateral securing such Allowed Secured Claim or
 the Net Proceeds realized by the Debtors or Reorganized Debtors from the disposition of the
 collateral securing such Allowed Secured Claim up to the amount of their Secured Claim. The
 claims in this class relate to miscellaneous equipment owned by the Debtors which will not be
 needed for reorganization. The Debtors believe that any deficiency claims after return/sale of
 collateral will be de minimus and will not exceed an estimated amount of $75,000.00. Any such

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 deficiency Claim shall be treated as a General Unsecured Class 10 Claim. The holders of Claims
 in this Class are not Impaired and, therefore, are holders of Claims in this Class are not entitled
 to vote.

         6.      Class 12 Interests

        On the Effective Date, all Class 12 Interests shall remain unaffected, valid and binding
 such that 100% of the membership interests of Shapes, Delair, Accu-Weld and Ultra shall
 continue to be owned by Shapes/Arch. The holders of Interests in this Class are not Impaired
 and therefore are not entitled to vote.

 E.      Classification of Impaired Claims and Interests

         1.      Class 5 PMSI Claims

         This Class shall consist of the PMSI Claims (which shall include lease agreements for
 equipment which contains a nominal or $1.00 purchase option), provided that the equipment as
 to which the claimant holds a PMSI Claim is being retained by the Reorganized Debtors, and
 each such Claim shall be treated as a separate subclass. Each holder of an Allowed Claim in this
 Class shall continue to receive the monthly amortized payments set forth in the pre-petition
 agreements (at the non-default interest rate and without the allowance of any late payments or
 penalties) with any pre-petition arrearages to be added at the end of the contract and paid in one-
 lump payment on the thirtieth day following the natural un-accelerated due date under the
 applicable contract. Any holder of a purchase money security interest in equipment or a lessor of
 equipment (whose contract contains a nominal or $1.00 purchase option) who has not properly
 perfected its interest under the Uniform Commercial Code shall be treated as a Class 10
 unsecured creditor. The Reorganized Debtors shall have the right to prepay the Class 5 Claims
 in whole or in part without penalty. If the Reorganized Debtors prepay in part, the Reorganized
 Debtors shall remain responsible for the balance of the Allowed Claim as set forth herein.
 Properly perfected Class 5 PMSI Claims shall retain the Liens on their collateral after
 Confirmation and until they are paid in full, in which event such Liens shall be deemed
 terminated. The Claims in this Class are Impaired and, therefore, the holders of Allowed Claims
 in this Class are entitled to vote.

         2.      Class 6 Shippers and Warehousemen Claims

         Class 6 shall consist of holders of Allowed Secured Claims of the Debtors’ Shippers and
 Warehousemen (who are in possession of Property). Each holder shall be deemed to be a
 separate subclass. Each member of the subclass shall have an Allowed Secured Claim in the
 amount of the charges due and owing to them (by agreement of the parties with the consent of
 Arch Acquisition, or as allowed by Order of the Bankruptcy Court) and such claims shall be paid
 (at the election of the Debtors) (i) in full (without interest) on the Effective Date or (ii) in 24
 equal monthly installments of principal (commencing on the first day of the first month
 following the Effective Date and continuing on the first day of each month thereafter) with
 interest at the rate of six percent (6%) per annum. On the Effective Date any Property then in the
 possession of a Class 6 holder shall be released to the Reorganized Debtors. The Debtors
 estimate that the maximum deficiency Claims for the holders of Class 6 Claims would be in the


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 approximate amount of $200,000.00. Any such deficiency Claim shall be treated as General
 Unsecured Class 10 Claims. Class 6 Claims are Impaired and the holders of Allowed Claims in
 this Class are entitled to vote.

         3.      Class 7 Collateralized Insurance Program Claims

         This Class shall consist of the Allowed Secured Claims of those entities holding cash
 deposits or letters of credit which are acting as collateral security for the workers compensation
 insurance policies of the Debtors, each such Claim shall be deemed a separate subclass. Each
 holder of a Class 7 Claim shall retain on account of its Allowed Secured Claim the cash deposit
 or Letter of Credit securing the same; provided, however, that such entities shall, on the Effective
 Date, return to the Reorganized Debtors all collateral being held in excess of their Allowed
 Secured Claims (as determined by agreement of the parties with the consent of Arch Acquisition,
 or further Order of the Bankruptcy Court in the event Debtors or holders request an estimation of
 any holders’ claims under Section 502(c) of the Bankruptcy Code). The Claims in this Class
 relate primarily to workers compensation policies and Debtors estimate there will be no
 deficiency Claims arising from this Class. The Claims in this Class are Impaired and therefore
 the holders of Allowed Claims in this Class are entitled to vote.

         4.      Class 9 Environmental Claims

         This Class shall consist of all Environmental Claims exclusive of Deficiency Claims. On
 the Effective Date, the EPA shall receive the sum of three hundred thousand dollars
 ($300,000.00) in full and complete satisfaction of its claims set forth in Section I of Exhibit “E”
 attached hereto which amount the EPA shall allocate accordingly, and the sum of twenty five
 thousand dollars ($25,000.00) in full and complete satisfaction of its claims set forth in Section II
 of Exhibit “E” attached hereto which amount the EPA shall allocate accordingly. The NJDEP
 shall receive the sum of twenty five thousand dollars ($25,000.00) in full and complete
 satisfaction of its claims set forth in Section II, III and IV of Exhibit “E” hereto, which amount
 the NJDEP shall allocate accordingly Funding for these distributions and other distributions to
 holders of Environmental Claims shall be made solely from proceeds of applicable insurance
 policies. Any Deficiency Claims relating to Environmental Claims shall be treated as General
 Unsecured Class 10 Claims. The holders of Claims in Class 9 are Impaired and, therefore, are
 entitled to vote.

         5.      Class 10 General Unsecured Claims

         This Class shall consist of General Unsecured Claims. Unless otherwise agreed to by the
 holder of an Allowed General Unsecured Claim and the Class 10 Liquidation Trustee, each
 holder of an Allowed General Unsecured Claim shall receive, in accordance with the Plan
 Administration Agreement, its Pro Rata share of (i) the sum of the Class 10 Pool Escrow and the
 distributions under the Plan Note; (ii) the Reserves Balances; and (iii) net recoveries on account
 of the Avoidance Actions and Estate Actions. On the Effective Date, all holders of Allowed
 Class 10 Claims shall become beneficiaries of the Liquidation Trust; all Class 10 Claims shall be
 transferred to and assumed by the Liquidation Trust; and the Debtors and their Property, and the
 Reorganized Debtors and their property shall be free and clear of all Class 10 Claims and be
 deemed released and discharged from all Class 10 Claims. All Deficiency Claims shall be


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 treated as Class 10 General Unsecured Claims. The holders of Claims in this Class are Impaired
 and, therefore, entitled to vote.

         6.      Class 11 Ben Interests

         This Class shall consist of the Ben Interests. On the Effective Date, all Class 11 Interests
 shall be deemed cancelled, null and void and of no force and effect. Accordingly, Class 11
 Interests are deemed to reject the Plan and, therefore, are not entitled to vote.

 F.      Means For Implementation Of The Plan

         1.      Corporate Action

          On the Effective Date and automatically and without further action, (i) each existing
 member (or manager of each operating entity) of the Debtors will be deemed to have resigned,
 (ii) the new members, managers and officers of the Reorganized Debtors shall be those identified
 in the Plan Supplement, and (iii) the Class 10 Liquidation Trustee and Reorganized Debtors shall
 be authorized and empowered to take all such actions and measures necessary to implement and
 administer the terms and conditions of the Plan. Each Debtor’s Operating Agreement will be
 amended as of the Effective Date to the extent necessary to incorporate the provisions of the Plan
 and to prohibit the issuance of nonvoting equity securities as required by section 1123(a)(6) of
 the Bankruptcy Code. The rights and interests of the New LLC Interests shall be governed by
 and controlled pursuant to the terms and conditions of the Reorganized Debtors’ Operating
 Agreements, which shall be included in and filed with the Plan Supplement.

         2.      Liquidation Trust

        On the Effective Date the Reorganized Debtors shall execute and deliver the Plan
 Administration Agreement, which shall create a trust; provide for holders of Allowed Class 10
 Claims to become beneficiaries of the Liquidation Trust; convey all Avoidance Actions and
 Estate Actions to the Liquidation Trust; appoint the Class 10 Liquidation Trustee and authorize
 the Class 10 Liquidation Trustee to bring such actions, provide for the acceptance of the
 Avoidance Actions and Estate Actions, the proceeds thereof, and the Reserves provided for in
 the Plan, and set forth the terms and conditions for distributions from such Reserves.

         From and after the Effective Date, the Liquidation Trust and the Class 10 Liquidation
 Trustee shall hold and administer the Avoidance Actions, the Estate Actions and the Reserves.
 All of the Reserves shall vest with the Class 10 Liquidation Trustee on the Effective Date.

         3.      Class 10 Liquidation Trustee

        On or before the Effective Date, the Committee, with the consent of the Plan Funder,
 which consent shall not be unreasonably withheld, shall appoint one Class 10 Liquidation
 Trustee to serve as such pursuant to the Plan Administration Agreement (the “Plan
 Administration Agreement”). The Plan Administration Agreement is attached as an exhibit to
 the Plan Supplement. The Class 10 Liquidation Trustee shall administer the Plan subject to the
 foregoing duties and powers, which shall include the following:


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                 (a)    To commence, prosecute, compromise and/or settle the Avoidance
                        Actions and Estate Actions, and objections to General Unsecured Claims
                        and the Reorganized Debtors shall reasonably cooperate with the Class 10
                        Liquidation Trustee with respect to same;

                 (b)    To make decisions regarding the retention or engagement of professionals
                        and to pay, without court order, all reasonable fees and expenses incurred
                        after the Effective Date;

                 (c)    To make or direct distributions to holders of Allowed Class 10 Claims and
                        to otherwise implement and administer the Reserves and the Plan with
                        respect to General Unsecured Claims;

                 (d)    To set off amounts owed to the Debtors prior to the Petition Date against
                        any and all amounts otherwise due to be distributed to the holder of an
                        Allowed Class 10 Claim under the Plan; and

                 (e)    To take all other actions not inconsistent with the provisions of the Plan
                        deemed necessary or desirable in connection with its rights and duties
                        hereunder and under the Plan Administration Agreement.

         4.      Exit Facility

         Upon the Effective Date, and subject to Section 3.6 of the Plan, the Plan Funder shall
 either (a) amend and restate the Arch Acquisition DIP Agreement or (b) enter into a new loan as
 part of the Plan Funding Commitment (the “Exit Facility”). The principal amount of the Exit
 Facility outstanding on the Effective Date will be approximately $26,700,000.00 (prior to
 funding the Effective Date Funding Requirements (as defined below)) plus any and all unpaid
 interest, costs and fees that accrued prior to the Effective Date on the Arch Acquisition DIP
 Loan, less any amount converted for purposes of the Plan Funding Commitment. The Plan
 Funder’s Liens shall not attach to the Reserves, Reserves Balances, the Avoidance Actions or
 Estate Actions or proceeds of the same. The Liens and property interests of the Plan Funder
 shall remain perfected from and after the date of the Confirmation Order without the need of the
 Plan Funder to take any or further action or file or record any notes with respect thereto. The
 Confirmation Order shall be sufficient and conclusive notice and evidence of the grant, validity,
 perfection, and priority of the Plan Funder’s Liens without the necessity of filing or recording the
 Confirmation Order (other than as docketed in the Chapter 11 Cases) or any financing statement,
 mortgage or other instrument or document which may otherwise be required under the law of
 any jurisdiction or the taking of any other action to validate or perfect the Plan Funder’s Liens, or
 to entitle the Plan Funder to the same priorities granted to the agent under the Arch Acquisition
 DIP Loan or herein (including, in respect of cash or deposits or investment property, any
 requirement that the Plan Funder have possession of or dominion and control over, any such cash
 in order to perfect an interest therein); provided that the Debtors or Reorganized Debtors shall
 execute and deliver to the Plan Funder and the Plan Funder may file or record financing
 statements or other instruments further to evidence or further to perfect the Plan Funder’s Liens
 authorized, granted and perfected under the Exit Facility and hereby; and provided further that



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 no such filing or recordation shall be necessary or required in order to create or perfect any such
 Lien.

         5.      Plan Funding Commitment

         Except as expressly set forth in the Plan or the Plan Funding Commitment, working
 capital of the Debtors and Reorganized Debtors together with the proceeds of the Plan Funding
 Commitment shall be used for general working capital and capital expenditures of the
 Reorganized Debtors, to fund on the Effective Date or make provision for payment after the
 Effective Date of the distributions required under the Plan including, without limitation, the Plan
 Expense Reserve, the Allowed Administrative Claims, Allowed Fee Claims, Allowed Priority
 Claims, Allowed Other Priority Claims, Allowed Cure Claims up to an aggregate amount of
 $878,000, Allowed Secured Real Estate Claims, the CIT DIP Claim (which, pursuant to the Plan,
 shall be paid in full, in cash, on or before the Effective Date), and the Class 10 Pool Escrow. In
 the event that the cash portion of the Plan Funding Commitment is insufficient to fund and pay
 the Class 10 Pool Escrow on the Effective Date, and the Plan Funder does not agree to increase
 the cash portion of the Plan Funding Commitment, then the payments on the Effective Date to
 the Class 10 Pool Escrow will be satisfied by issuance of the Plan Note. In consideration for
 meeting its funding commitments under the Plan Funding Commitment and otherwise in the
 aggregate amount necessary to effectuate the terms of this Plan (which will be paid in cash
 and/or in part by way of a conversion of the Arch Acquisition DIP Claim), the Plan Funder shall
 receive one hundred percent (100%) of the New LLC Interests in the Reorganized Shapes/Arch
 Holdings L.L.C. that are authorized and issued as of the Effective Date (the “New LLC
 Interests”).

         6.      Alternative Transaction and Break-Up Fee

        The New LLC Interests will be subject to the Competitive Process (as described
 hereinabove and in the Competitive Process Motion) and ultimately, the New LLC interests may
 be issued to a party other than Arch Acquisition. In the event that Arch Acquisition is not the
 successful bidder upon the conclusion of that process then Arch Acquisition shall receive the
 break-up fee and expense reimbursement approved by the Bankruptcy Court pursuant to the
 terms of the Competitive Process Motion.

         7.      Revesting

         Except as otherwise provided for in the Plan, the Confirmation Order, the Final Orders,
 as applicable (including, without limitation, the liens being granted and/or retained by Arch
 Acquisition), on the Effective Date, without any further action, each of the Reorganized Debtors
 will be vested with all of the Property of the Estates (excluding all Avoidance Actions and Estate
 Actions), free and clear of all Claims, Liens and Interests, and shall have all of the powers of a
 limited liability company under applicable law. As of the Effective Date, the Reorganized
 Debtors may operate their businesses and use, acquire and dispose of property and settle and
 compromise claims or interests without the supervision of the Bankruptcy Court or the Class 10
 Liquidation Trustee, free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.




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         8.      Transfer of Real Estate

         On the Effective Date, but subject to the Class 2 Secured Real Estate Claims to the extent
 not satisfied, (a) Reorganized Shapes L.L.C. may (at its election) either retain all real estate or (i)
 convey the Shapes Real Estate to Shapes Realty New Jersey L.L.C., (ii) convey the Delair Real
 Estate to Delair Realty New Jersey L.L.C. (or Shapes Realty New Jersey L.L.C.); and (iii)
 convey the Ultra Real Estate to Ultra Realty New Jersey L.L.C.; and (b) Reorganized Accu-Weld
 L.L.C. may (at its election) either retain all real estate or convey the Accu-Weld Real Estate to
 Accu-Weld Realty Pennsylvania L.L.C., free and clear of all liens, claims and encumbrances
 other than the Class 2 Real Estate Claims.

         9.      Distributions for Claims Allowed as of the Effective Date

         Except as otherwise provided herein or as ordered by the Bankruptcy Court, distributions
 to be made on account of Claims that are Allowed Claims as of the Effective Date shall be made
 on the Effective Date or as soon thereafter as is practicable. Any distribution to be made on the
 Effective Date pursuant to the Plan shall be deemed as having been made on the Effective Date if
 such distribution is made on the Effective Date or as soon thereafter as is practicable. Any
 payment or distribution required to be made under the Plan on a day other than a Business Day
 shall be made on the next succeeding Business Day.

         10.     Reserve Accounts

         As soon as practicable after the Effective Date, the Class 10 Liquidation Trustee will
 establish and maintain the following reserve accounts:

                 (a)    Reserve for Plan Expenses. A reserve in an amount equal to the estimated
                        Plan Expenses (the “Plan Expense Reserve”), which upon the closing of
                        the Chapter 11 Cases, the remainder, if any, will be released and
                        distributed to Reorganized Debtors; other than the initial funding of the
                        Plan Expense Reserve in the amount of two hundred thousand
                        ($200,000.00) (or with respect to legal fees and other professional fees
                        incurred by the Reorganized Debtors at the request of the Plan Funder),
                        the Reorganized Debtors shall have no further liability for such expenses,
                        and

                 (b)    Disputed Claims Reserve for Class 10 Claims.

         11.     Reserves for Disputed Administrative, Fee, Priority Tax and Other Priority
                 Claims

         On or before the Effective Date, or shortly after the applicable bar date, the Reorganized
 Debtors shall establish and maintain reserves for all other Disputed Claims in (i) amount equal to
 what would be distributed to holders of Disputed Administrative, Fee, Priority Tax, Other
 Priority Tax and Cure Claims in the event that their Disputed Claims were deemed Allowed
 Claims on the Effective Date, or such applicable bar date, or (ii) such other lesser amount as may
 be agreed by the parties or approved by the Bankruptcy Court upon motion of the Reorganized
 Debtors; provided, however, that the Reorganized Debtors shall not be required to reserve funds

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 on account of employee Claims for paid time off or vacation benefits of employees whose
 employment was continued by the Debtors or will be continued by the Reorganized Debtors (the
 “Disputed Administrative, Fee, Priority Tax, Other Priority Tax and Cure Claims Reserve”).
 With respect to such Disputed Claims, if, when, and to the extent any such Disputed Claim
 becomes an Allowed Claim by Final Order, the relevant portion of the Cash held in reserve
 therefore shall be distributed by the Reorganized Debtors to the Claimant in a manner consistent
 with distributions to similarly situated Allowed Claims. The balance of such Cash, if any,
 remaining after all such Disputed Claims, which shall not include Disputed Class 10 General
 Unsecured Claims, have been resolved and distributions made in accordance with the Plan, shall
 be released and distributed to the Reorganized Debtors. No payments or distributions shall be
 made with respect to a Claim that is a Disputed Claim pending the resolution of the dispute by
 Final Order.

         12.     Reserves for Disputed General Unsecured Claims

         On or shortly after the Rejection Claims Bar Date, the Class 10 Liquidation Trustee shall
 establish and maintain a reserve for all Disputed General Unsecured Claims in an amount equal
 to what would be distributed to holders of Disputed General Unsecured Claims (the “Disputed
 General Unsecured Claims Reserve”). For purposes of establishing a reserve for Disputed
 General Unsecured Claims, Cash will be set aside as soon as practicable after the Effective Date
 equal to the amount that would have been distributed to the holders of Disputed General
 Unsecured Claims had their Disputed General Unsecured Claims been deemed Allowed Claims
 on the Effective Date or (ii) such other lesser amount as may be agreed by the parties or
 approved by the Bankruptcy Court. With respect to such Disputed General Unsecured Claims,
 if, when, and to the extent any such Disputed General Unsecured Claim becomes an Allowed
 Claim by Final Order, the relevant portion of the Cash held in reserve therefore shall be
 distributed by the Class 10 Liquidation Trustee to the Claimant in a manner consistent with
 distributions to similarly situated Allowed Claims. The balance of such Cash, if any, remaining
 after all Disputed General Unsecured Claims have been resolved and distributions made in
 accordance with the Plan, shall be released and re-distributed to holders of Allowed Claims. No
 payments or distributions shall be made with respect to a Claim that is a Disputed General
 Unsecured Claim pending the resolution of the dispute by Final Order.

         13.     Claims Objection Deadline

         Notwithstanding D.N.J. LBR 3007-1, Objections to Claims shall be filed and served upon
 each affected Creditor no later than ninety (90) days after the Effective Date, provided however,
 that this deadline may be extended by the Bankruptcy Court upon motion of the Class 10
 Liquidation Trustee or Reorganized Debtors, with or without notice or hearing. Notwithstanding
 the foregoing, unless the Plan or an order of the Bankruptcy Court specifically provides for a
 later date, any proof of, or other assertion of a Claim filed after the deadline established for filing
 Claims of that type shall be automatically disallowed as a late filed Claim, without any action by
 the Class 10 Liquidation Trustee or the Reorganized Debtors, unless and until the party filing
 such Claim obtains the written consent of, the Class 10 Liquidation Trustee or the Reorganized
 Debtors, as applicable, or obtains an order of the Bankruptcy Court upon notice to the Class 10
 Liquidation Trustee and Reorganized Debtors that permits the late filing of the Claim.
 Moreover, the holder of such disallowed late-filed Claim shall be forever barred from asserting

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 such Claim against the Liquidation Trust the Debtors, the Estates or their Property, Reorganized
 Debtors or their property. In the event any proof of claim is permitted to be filed after the
 Confirmation Date pursuant to an order of the Bankruptcy Court or the Plan, the Class 10
 Liquidation Trustee or Reorganized Debtors, as applicable, shall have sixty (60) days from that
 bar date or the filing of such proof of claim or order to object to such Claim, which deadline may
 be extended by the Bankruptcy Court upon motion of the Class 10 Liquidation Trustee or the
 Reorganized Debtors with or without notice or a hearing. To the extent that a Creditor files a
 proof of claim in excess of the amounts set forth in the Debtors’ Schedules and Statement of
 Financial Affairs (or seeking a different classification of the same or files a Claim not set forth in
 the Debtors’ Schedules), it is most probable that an objection to the same will be filed. However,
 the Plan provides that all Claims in Class 10 will be transferred to the Liquidation Trust and the
 Class 10 Liquidation Trustee shall thereafter have the right to object to Claims, but most likely
 will do so for the same reasons set forth above as if the Debtors were commencing Claim
 objections. As such, the ultimate dividend percentage to Allowed Class 10 Creditors is
 dependent upon the success of such objections. Upon a preliminary review of the Claims’
 register, the Debtors believe that objections will be filed prior to confirmation with respect to all
 Claims that have been filed asserting Environmental Claims.

         14.     Settlement of Disputed Claims

        Objections to Claims may be litigated to judgment or withdrawn, and may be settled with
 the approval of the Bankruptcy Court, except to the extent such approval is not necessary as
 provided in this section. After the Effective Date, and subject to the terms of the Plan, the Class
 10 Liquidation Trustee or the Reorganized Debtors, as applicable, may settle any Disputed Claim
 where the result of the settlement or compromise is an Allowed Claim in an amount of $100,000
 or less without providing any notice or obtaining an order from the Bankruptcy Court. All
 proposed settlements of Disputed Claims where the amount to be settled or compromised
 exceeds $100,000 shall be subject to the approval of the Bankruptcy Court after notice and an
 opportunity for a hearing.

         15.     Unclaimed Property

         If any distribution remains unclaimed for a period of ninety (90) days after it has been
 delivered (or attempted to be delivered) in accordance with the Plan to the holder of an Allowed
 Claim or Interest entitled thereto, such unclaimed property shall be forfeited by such holder,
 whereupon all right, title and interest in and to the unclaimed property shall (i) with respect to
 such unclaimed distributions to Allowed Clams in Class 10, be held in reserve by the Class 10
 Liquidation Trustee to be distributed Pro Rata to holders of Allowed Claims in Class 10 in
 accordance with this Plan, and (ii) with respect to other Classes and types of Claims, revert to the
 Reorganized Debtors.

         16.     Release and Preservation of Certain Liens

        Except as otherwise provided in the Plan or in any contract, instrument or other
 agreement or document created in connection with the Plan, including, without limitation, the
 Liens securing the Exit Facility and any Liens of Holders of Allowed Claims in Class 5 that are
 paid over time (which shall survive Confirmation and shall remain valid, enforceable and


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 perfected Liens against property of the Reorganized Debtors, respectively), on the Effective
 Date, all other mortgages, deeds of trust, Liens or other security interests against the Property of
 the Debtors’ estates shall be released, and all the right, title and interest of any holder of such
 mortgages, deeds of trust, Liens or other security interests shall revert to Reorganized Debtors
 and their successors and assigns.

         17.     Withholding Taxes

         Any federal, state, or local withholding taxes or other amounts required to be withheld
 under applicable law shall be deducted from distributions hereunder. All Persons holding Claims
 shall be required to provide any information necessary to effect the withholding of such taxes.

         18.     Fractional Cents

         Any other provision of this Plan to the contrary notwithstanding, no payment of fractions
 of cents will be made. Whenever any payment of a fraction of a cent would otherwise be called
 for, the actual payment shall reflect a rounding down of such fraction to the nearest whole cent.

         19.     Payments of Less than Twenty-Five Dollars

         If a cash payment otherwise provided for by this Plan with respect to an Allowed Claim
 would be less than twenty-five ($25.00) dollars (whether in the aggregate or on any payment date
 provided in this Plan), notwithstanding any contrary provision of this Plan, the Class 10
 Liquidation Trustee shall not be required to make such payment and such funds shall be
 otherwise distributed to holders of Allowed Claims in such Class in accordance with the Plan, or
 if all Allowed Claims in such Class have been satisfied or reserved for in accordance with the
 Plan, then such excess fractional dollars will be distributed to the Reorganized Debtors.

 G.      Treatment Of Executory Contracts And Unexpired Leases

         1.      Rejection of All Agreements

         Any and all pre-petition leases or executory contracts included on the Debtors’ Schedule
 G and not (i) previously assumed by the Debtors or the subject of a pending motion to assume of
 the Bankruptcy Court pending on the Confirmation Date, (ii) previously rejected or the subject of
 a pending motion to reject pending on the Confirmation Date, or (iii) designated on Schedule 8.1
 to this Plan, shall be deemed rejected by the Debtors effective as of the Confirmation Date, but
 subject to the occurrence of the Effective Date. Schedule 8.1 to the Plan shall be filed at least
 fifteen (15) days prior to the Confirmation Hearing and served upon the non-Debtor parties to the
 contracts and leases, and shall include the Cure Claim that the Debtors believe will be payable as
 of the Effective Date for each contract and lease thereon. The Debtors shall have the right to
 modify Schedule 8.1 to the Plan up to two (2) days prior to the Confirmation Hearing, by filing
 a modified schedule with the Bankruptcy Court and serving the modified Schedule 8.1 upon any
 counter-party that is added to or deleted from the schedule.

        Unless otherwise ordered by the Bankruptcy Court, if a non-Debtor party to an executory
 contract or unexpired lease listed on Schedule 8.1 to the Plan disagrees with the Cure Claim
 shown thereon for its executory contract or unexpired lease, a Cure Claim must be filed with the

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 Bankruptcy Court and served on the Debtors and their counsel so as to be received at least five
 (5) days prior to the Confirmation Hearing (the “Cure Claims Bar Date”). Any Person that is a
 non-Debtor party to an executory contract or unexpired lease on Schedule 8.1 to the Plan that
 fails to timely file and serve a Cure Claim shall be bound by the amount shown by the Debtors
 and shall be forever barred, estopped and enjoined from asserting any other or additional Cure
 Claim and no objection to a late claim shall be necessary. Within ten (10) days after the
 Effective Date, all undisputed Cure Claims due and owing under any assumed contracts or leases
 shall be paid, and all Cure Claims that are the subject of dispute shall be paid upon further
 agreement of the parties or upon entry of an order of the Bankruptcy Court allowing such Cure
 Claims. No portion of any disputed Cure Claims shall be paid unless and until the amount of
 such Claim is fixed by agreement of the parties or order of the Bankruptcy Court.

         Notwithstanding the foregoing, on the Effective Date, all insurance policies (regardless of
 the inception date of coverage) for any one or more Debtors which provide for any and all
 Claims made or occurred arising from or related to any environmental laws of any Federal, State
 or local governmental entity or any claim asserted by a non-governmental entity for
 environmental claims (directly or by way of indemnity and whether under contract or tort law)
 shall be deemed assumed by the Reorganized Debtors. Any motion filed to assume contracts or
 the Schedule 8.1 shall contain the Cure Claims required to be paid upon assumption and all
 contracting parties shall have ten (10) days from the filing of the motion to assume, or in the case
 of policies included on Schedule 8.1, until the Cure Claims Bar within which to object to the
 stated Cure Claims or thereafter be deemed to have waived the right to object to the same.

         2.      Collective Bargaining Agreements

        The Debtors are party to the following collective bargaining agreements (each a “CBA”):
 (a) one CBA between Shapes and Delair, on the one hand, and Teamsters – Local 837 (“Local
 837”), on the other hand; (b) one CBA between Ultra and Local 837; and (c) three CBAs
 between Accu-Weld and the United Independent Union (“UIU”) each covering separate groups
 of employees.

         Since the Petition Date, the Debtors (a) have submitted proposals to Local 837 and to the
 UIU for modifications to the CBAs with each of the Debtors, and (b) have met with Local 837
 three times regarding the Shapes/Delair CBA and with the UIU four times regarding the Accu-
 Weld CBAs. To date, no final agreements have been reached with either Local 837 or the UIU
 regarding the Debtors’ proposed modifications. Negotiations with both Unions are continuing.
 The proposals include discussions regarding overtime, vacation, health and welfare obligations,
 pension obligations, wage adjustments, seniority rules, grievance procedures and other issues.

        The Debtors have advised both Local 837 and the UIU that, absent consensual
 modifications to the CBAs, the Debtors may decide to seek rejection of one or more of the CBAs
 and, if such determination is made, the Debtors will submit proposals and information in
 conformity with the requirements of section 1113 of the Bankruptcy Code and seek the
 appropriate supplemental relief (by way of a motion under section 1113) from the Bankruptcy
 Court. In connection with the filing of such motion, the Debtors will set forth the grounds and
 necessity for the relief being requested (which in part will be a function of the results of the
 negotiations). In the event that the Debtors’ obligations under their multi-employer pension

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 plans are terminated (by consent or further order of the Bankruptcy Court) then, withdrawal
 liability claims against the Debtors will arise which would be treated as Class 10 Claims.
 Estimating the amount of such claims is dependent upon actuarial factors and the funded status
 of the pension plans. Each pension plan administrator files an annual Form 5500 with the
 Department of Labor which form sets forth a financial statement for each of the plans and the
 information contained therein is utilized in the calculation of any withdrawal liability claims.
 The last time such information was readily available was for the Form 5500s filed at the end of
 2006 which would be utilized to calculate the withdrawal liability claims for calendar year 2007.
 Based upon that information, the aggregate amount of potential withdrawal liability claims
 would be in the approximate amount of $5,219,831.00. Any withdrawal liability claims that may
 arise in 2008 may be higher or lower depending upon the information contained in the Form
 5500’s to be filed by the pension plan administrators. In addition, the Debtors’ withdrawal from
 the Local 837 multi-employee pension plan (the “MEPP”) may have adverse consequences for
 that MEPP that generate forms of liability for the Debtors other than withdrawal liability. For
 example, it is possible that the Debtors’ withdrawal could generate a “mass withdrawal” from the
 MEPP and termination liability under ERISA. Determining the nature and extent of this liability
 requires more information than the Debtors currently have available regarding the MEPP,
 including certain actuarial factors.

         3.      Claims for Damages

         All proofs of claim with respect to Claims arising from the rejection of executory
 contracts or unexpired leases shall, unless another order of the Bankruptcy Court provides for an
 earlier date, be filed with Epiq within thirty (30) days after the mailing of notice of Effective
 Date. All proofs of claim with respect to Claims arising from the rejection of executory
 contracts shall be treated as Class 10 General Unsecured Claims, as applicable, for purposes of a
 distribution pursuant to the Plan, unless and until the Person or Entity asserting such Claim
 obtains an order of the Bankruptcy Court upon notice to the Debtors, that allows the Claims in
 another Class under the Plan. Unless otherwise permitted by Final Order, any proof of claim that
 is not filed before the earlier of the Bar Date or the Confirmation Hearing (other than those
 Claims arising from the rejection of executory contracts or unexpired leases which may be filed
 within thirty (30) days after mailing of the notice of Effective Date as set forth above) shall
 automatically be disallowed as a late filed Claim, without any action by the Class 10 Liquidation
 Trustee, and the holder of such Claim shall be forever barred from asserting such Claim against
 the Debtors, the Estates, the Reorganized Debtors or property of Reorganized Debtors. The
 Debtors have no ability to estimate the amount of rejection damage Claims as they have no way
 of predicting which executory contracts and unexpired leases the Plan Funder will ultimately
 decide to assume.

 H.      Effect of Confirmation of the Plan

        Without limiting any provision of the Plan, the Plan provides for the following release,
 exculpation, discharge and injunctions:

         1.      General Release and Injunction




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         On the Effective Date, (i) the Debtors, the Estates, and their respective successors or
 assigns, including, without limitation, the Liquidation Trust, the Class 10 Liquidation Trustee,
 and any Person or Entity claiming a right in a derivative capacity on their behalf and (ii) any
 holder of a Claim or Interest ((i), (ii) and any holder of a Claim classified under Class 10 General
 Unsecured Claims, together being the “Releasors”) hereby unconditionally and irrevocably
 release Arch Acquisition, the Plan Funder, the Committee, CIT, and the CIT Lenders, together
 with each of their respective shareholders, members, managers, general partners, limited
 partners, officers, directors, employees, agents, representatives, attorneys and advisors or
 consultants (collectively, the “Released Parties”), from any and all direct, indirect or derivative
 claims, obligations, suits, judgments, Liens, damages, rights, causes of action, liabilities, claims
 or rights of contribution and indemnification, and all other controversies of every type, kind,
 nature, description or character whatsoever, whether liquidated or unliquidated, fixed or
 contingent, matured or unmatured, known or unknown, foreseen or unforeseen, then existing or
 thereafter arising, in law, equity or otherwise that are based in whole or in part upon any act or
 omission, transaction, event or other occurrence taking place from the beginning of the world to
 the Effective Date, arising from or relating in any way, directly or indirectly, to the Debtors, their
 Property, assets, operations or liabilities, the Arch Acquisition DIP Loan, the Arch Acquisition
 DIP Agreement, the CIT DIP Loan, the CIT Loan, the CIT Revolving Loan DIP Agreements, the
 Chapter 11 Cases, the Plan, or the Disclosure Statement; provided, however, that the Releasors
 shall not be deemed to have released any rights to enforce the terms of the Plan or their rights to
 distributions thereunder. The Releasors hereby waive any rights or benefits under California
 Civil Code Section 1542, which provides that:

                 A general release does not extend to claims which the creditor does
                 not know or suspect to exist in his favor at the time of executing
                 the release, which if known by him must have materially affected
                 his settlement with Debtors and any rights or benefits under similar
                 laws.

 The Confirmation Order shall specifically provide for the foregoing releases. The foregoing
 release shall not include Claims (other than their Claims against the Debtors as reflected in any
 proof of claim) of members, managers and officers of the Debtors against the Released Parties
 that did not enter into mutual releases with Arch Acquisition or the CIT Lenders pursuant to
 Article 4.5.5 of the Final DIP Orders entered with respect to Arch Acquisition.

        The Debtors do not believe there are any causes of action against the Released Parties but
 the same is necessary and essential to induce the Plan Funder to provide the Exit Facility and the
 CIT Lenders to extend and continue extending credit under the DIP Revolver Agreement, and
 Plan Funding Commitment under the Plan for all classes of creditors, without which funding the
 Plan could and would not be confirmed.

        On the Effective Date, the Releasors shall be permanently enjoined from commencing,
 conducting or continuing in any manner, directly or indirectly, any suit, action or other
 proceeding of any kind, asserting any setoff, right of subrogation, contribution, indemnification
 or recoupment of any kind, directly or indirectly, or proceeding in any manner in any place
 inconsistent with the releases granted to the Released Parties pursuant to the Plan. The
 Confirmation Order shall specifically provide for such injunction.

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         2.      Release Consideration

         The consideration the Plan Funder shall provide, or has provided, in exchange for the
 releases described in the Plan and the receipt of the New LLC Interests, include the following
 (collectively, the “Plan Funder Consideration”):

                 (a)    The Exit Facility and Cash required under the Plan Funding Commitment
                        and for the Plan Funding Commitment Excluded Items; and

                 (b)    The sum of three hundred thousand dollars ($300,000) previously paid on
                        behalf of the Estates in accordance with the Final DIP Orders.

         3.      Exculpation

          On the Effective Date, CIT, the CIT Lenders, Arch Acquisition and the Plan Funder and
 all of their respective direct and indirect parents, subsidiaries and affiliates, together with each of
 their respective present and former shareholders, members, managers, general partners, limited
 partners, officers, directors, employees, agents, representatives, attorneys and advisors or
 consultants (solely in their capacities as such) shall be deemed to release each of the other of and
 from any claims, obligations, rights, causes of action and liabilities for any act or omission
 occurring solely during the period prior to the Effective Date, generally, including, without
 limitation, any act or omission occurring during the Chapter 11 Cases, the Arch Acquisition DIP
 Loan, the Arch Acquisition DIP Agreement, the Exit Facility, the Plan Funding Commitment,
 the CIT DIP Loan, the CIT Revolving Loan DIP Agreements, the Disclosure Statement, the
 pursuit of approval of the Disclosure Statement, the pursuit of confirmation of the Plan, the
 consummation of the Plan or the administration of the Plan or the property to be distributed
 under the Plan, except for acts or omissions which constitute willful misconduct or gross
 negligence, and all such Persons, in all respects, shall be entitled to rely upon the advice of
 counsel with respect to their duties and responsibilities under the Plan and under the Bankruptcy
 Code. Nothing contained herein shall release any party from its obligations under the Plan and
 related documents.

         4.      Discharge

         Except as otherwise provided for in the Plan, the Confirmation Order or any other order
 of the Bankruptcy Court (including, without limitation, the Interim Orders and Final DIP
 Orders), in accordance with section 1141(d) of the Bankruptcy Code, entry of the Confirmation
 Order acts as a discharge effective as of the Effective Date of all debts, Claims against, Liens on,
 and Interests in the Debtors, their assets and Property, which debts, Claims, Liens and Interests
 arose at any time before the entry of the Confirmation Order. The discharge of the Debtors shall
 be effective as to each Claim and Interest, regardless of whether a proof of Claim or Interest was
 filed or whether the Claim or Interest was Allowed or whether the holder of the Claim or Interest
 votes to accept the Plan. On the Effective Date, as to each and every discharged Claim and
 Interest, any holder of such Claim or Interest shall be precluded from asserting such Claim or
 Interest against the Debtors or Reorganized Debtors or their assets or properties.




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         5.      Injunction

          On and after the Effective Date, except to enforce the terms and conditions of the Plan
 before the Bankruptcy Court or as permitted under the Final DIP Orders and Exit Facility, and
 except to the extent the holders of Environmental Claims are seeking to recover under any and
 all applicable insurance policies (and in all cases may not assert any Claims against the
 Reorganized Debtors but may name them nominally for purposes of seeking recovery solely
 against applicable insurance coverage), all Persons or Entities who have held, hold or may hold
 any Claim against or Interest in the Debtors are, with respect to any such Claim or Interest,
 permanently enjoined from and after the Effective Date from: (a) commencing, conducting or
 continuing in any manner, directly or indirectly, any suit, action or other proceeding of any kind
 (including, without limitation, any proceeding in a judicial, arbitral, administrative or other
 forum) against the Reorganized Debtors or Class 10 Liquidation Trustee or the Liquidation Trust
 or any of their properties, or any direct or indirect transferee of any property of, or direct or
 indirect successor in interest to, any of the foregoing Persons or Entities and all of their
 respective direct and indirect parents, subsidiaries and affiliates, together with each of their
 respective shareholders, members, managers, general partners, limited partners, officers,
 directors, employees, agents, representatives, attorneys and advisors or consultants, or any
 property of any of the foregoing (collectively, the “Protected Parties”); (b) enforcing, levying,
 attaching (including, without limitation, any pre-judgment attachment), collecting or otherwise
 recovering by any manner or means whether directly or indirectly, against any of the Protected
 Parties of any judgment, award, decree or order; (c) creating, perfecting or otherwise enforcing
 in any manner, directly or indirectly, any encumbrance of any kind against any of the Protected
 Parties; (d) asserting any right of setoff, subrogation, or recoupment of any kind, directly or
 indirectly, against any obligation due to any of the Protected Parties; and (e) taking any actions
 in any place and in any manner whatsoever that do not conform to or comply with the provisions
 of the Plan. Nothing in this section shall preclude CIT or the CIT Lenders from asserting and
 enforcing any rights, defenses or claims available to them, or the Committee or the Class 10
 Liquidation Trustee, as applicable, from asserting Avoidance Actions or Estate Actions or
 continuing to pursue Avoidance Actions or Estate Actions commenced by the Committee prior
 to its termination under Section 11.19.

         6.      Insurance

          This Plan shall not diminish or impair the enforceability of any insurance policy, right or
 claim that may cover Claims against the Debtors (including, without limitation, its officers or
 directors) or any other person or entity. Likewise, the Plan and Confirmation Order shall not
 impair any insurance carrier’s rights, claims, defenses or disputes under any policy and shall not
 act to increase or extend any rights of the Debtors or the carriers.

 I.      Retention of Jurisdiction

         The Bankruptcy Court shall have exclusive jurisdiction over all matters arising out of,
 and related to, the case, the Plan, and the Liquidation Trust to the fullest extent permitted by law
 pursuant to, and for the purposes of Section 105(a) and Section 1142 of the Bankruptcy Code
 and for the other purposes described in Article X of the Plan.



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 J.      Miscellaneous Provisions

         1.      Pre-Confirmation Modification

        On notice to and opportunity to be heard by the United States Trustee and the Committee,
 the Plan may be altered, amended or modified by the Debtors before the Confirmation Date as
 provided in section 1127 of the Bankruptcy Code; provided, however, that any such amendment
 or modification of the Plan must be approved in writing by Arch Acquisition (and the CIT
 Lenders to the extent the same is material to the CIT Lenders).

         2.      Post-Confirmation Immaterial Modification

        With the approval of the Bankruptcy Court and on notice to and an opportunity to be
 heard by the United States Trustee and the Reorganized Debtors and without notice to holders of
 Claims and Interests, the Class 10 Liquidation Trustee, may, insofar as it does not materially and
 adversely affect the rights and interests of holders of Claims, correct any defect, omission or
 inconsistency in the Plan in such manner and to such extent as may be necessary to expedite
 consummation of this Plan; provided, however, that any such amendment or modification of the
 Plan must be approved in writing by the Plan Funder (and CIT Lenders to the extent the same is
 material to the CIT Lenders).

         3.      Post-Confirmation Material Modification

         On notice to and an opportunity to be heard by the United States Trustee, the Plan may be
 altered or amended after the Confirmation Date by the Reorganized Debtors or the Class 10
 Liquidation Trustee in a manner which, in the opinion of the Bankruptcy Court, materially and
 adversely affects holders of Claims, provided that such alteration or modification is made after
 notice and a hearing and otherwise meets the requirements of section 1127 of the Bankruptcy
 Code; provided, however, that any such amendment or modification of the Plan must be
 approved in writing by the Plan Funder (and CIT DIP to the extent the same is material to the
 CIT Lenders).

         4.      Withdrawal or Revocation of the Plan

         The Debtors reserve the right to revoke or withdraw the Plan prior to the Confirmation
 Date and upon prior notice to the Committee, provided, however, that the Debtors may not
 revoke or withdraw the Plan without the written consent of Arch Acquisition. If the Debtors
 revoke or withdraw the Plan, if Confirmation or the Effective Date does not occur, then, (a) the
 Plan shall be null and void in all respects, (b) any settlement or compromise embodied in the
 Plan (including the fixing or limiting to an amount certain any Claim or Class of Claims),
 assumption or rejection of executory contracts or unexpired leases affected by the Plan, and any
 document or agreement executed pursuant to the Plan, shall be deemed null and void, and
 (c) nothing contained in the Plan shall (i) constitute a waiver or release of any Claims by or
 against, or any Interests in the Debtors or any other Person, (ii) prejudice in any manner the
 rights of the Debtors or any other Person, or (iii) constitute an admission of any sort by the
 Debtors or any other Person.



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         5.      Payment of Statutory Fee

        All fees payable pursuant to section 1930 of title 28 of the United States Code (the
 "Quarterly Fees") (i) which accrued on or prior to the Confirmation Date shall be paid by the
 Debtors on the Effective Date or as soon thereafter as is practicable and (ii) which accrued after
 the Confirmation date shall be paid as follows:

                (a) For the period from the Effective Date through and including the date the
 Reorganized Debtors provide written notice to the Class 10 Liquidation Trustee that the
 Reorganized Debtors seek to close the Chapter 11 Cases because the Reorganized Debtors have
 performed all of their duties necessary to substantially consummate the Plan (the "Case Closing
 Notice"), the Reorganized Debtors and the Liquidation Trust shall pay their pro rata share of the
 Quarterly Fees based upon the disbursements actually made by each of (x) the Reorganized
 Debtors and (y) the Liquidation Trust and/or the Class 10 Liquidation Trustee for such period
 and through the date on which the Bankruptcy Court enters a Final Decree closing the Chapter
 11 Cases; and

                (b) In the event the Class 10 Liquidation Trustee requires the Chapter 11 Cases
 to remain open after receipt of the Case Closing Notice, the Quarterly Fees shall be paid solely
 by the Class 10 Liquidation Trustee from the Liquidation Trust until such time as the Chapter 11
 Cases are closed.

         6.      Successors and Assigns

        The rights, benefits and obligations of any Person or Entity named or referred to in the
 Plan shall be binding on, and shall inure to the benefit of, the heirs, executors, administrators,
 successors and/or assigns of such Person or Entities.

         7.      Exemption From Transfer Taxes

         Pursuant to Bankruptcy Code section 1146(a): (a) the issuance, transfer, or exchange of
 notes or equity securities under the Plan; (b) the creation of any mortgage, deed of trust, lien,
 pledge, or other security interest; (c) the making or assignment of any contract, lease or sublease;
 or (d) the making or delivery of any deed or other instrument of transfer under, in the furtherance
 of, or in connection with, the Plan, including, without limitation, the transfers to be made under
 Section 5.8 of the Plan, any merger agreements, agreements of consolidation, restructuring,
 disposition, liquidation, or dissolution, stock purchase agreements, stockholders agreements or
 stockholders rights agreements; deeds, bills of sale, or transfers of tangible property will not be
 subject to any stamp tax, or other similar tax or any tax held, to be a stamp tax or other similar
 tax by applicable law.

 K.      Effectiveness of the Plan

         The Plan shall not be confirmed unless and until the following conditions have been
 satisfied in full or waived by (i) the Debtors, (ii) Arch Acquisition, and (iii) where applicable, the
 CIT Lenders:



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        (a)     The Confirmation Order shall be in form and substance satisfactory to the
 Debtors, Arch Acquisition, and the CIT Lenders, which Confirmation Order shall approve all
 provisions, terms and conditions of the Plan;

        (b)       No amendments, modifications, supplements or alterations shall have been made
 to the Plan or any document delivered in connection therewith, without the express written
 consent of the Debtors and Arch Acquisition (which consent may be granted, withheld, or
 conditioned in their respective sole discretion), and the consent of CIT to the extent that the same
 is material to the CIT Lenders;

         (c)     Execution of new Collective Bargaining Agreements in form and substance
 satisfactory to the Debtors and Arch Acquisition; and

        (d)      The funds available under the Plan Funding Commitment shall be sufficient to
 fund distributions under the Plan (including reasonable reserves).

         In the event (i) new Collective Bargaining Agreements in form and substance satisfactory
 to Arch Acquisition are not fully executed or such condition is not waived by Arch Acquisition
 prior to June 16, 2008 and (ii) the Debtors and Arch Acquisition, jointly, agree to proceed with a
 sale under section 363 of the Bankruptcy Code, in lieu of proceeding with the Plan and filing a
 motion under section 1113, then, in such event, Arch Acquisition agrees to serve as the stalking
 horse bidder in any expedited sale process under section 363 of the Bankruptcy Code. The
 section 363 sale process and the asset purchase agreement shall (i) be on terms, conditions and a
 timeline acceptable to Arch Acquisition, (ii) provide for a break-up fee and expense
 reimbursement to Arch Acquisition in the same amount as that approved in connection with the
 competitive process for this Plan, and (iii) provide for a purchase price (subject to adjustment
 based on the change from the Plan process to a section 363 sale) consistent with the Plan
 Funding Commitment (including the Exit Facility) contained herein. Notwithstanding the
 foregoing, nothing in the Plan shall obligate Arch Acquisition to provide additional financing or
 waive any defaults under the Arch Acquisition DIP Agreement in connection with such section
 363 sale process.

        The Plan shall not become effective unless and until each of the following conditions has
 been satisfied in full or waived by the Debtors and the Plan Funder:

         (a)     The Bankruptcy Court shall have entered the Confirmation Order by July 15,
                 2008 (or such other date as agreed to in the sole discretion of the Plan Funder) and
                 such Order shall be in form and substance satisfactory to the Debtors and the Plan
                 Funder;

         (b)     All escrow and reserve accounts described in the Plan have been adequately
                 funded;

         (c)     The Confirmation Order shall have become a Final Order and the Effective Date
                 shall be no later than July 31, 2008; and

         (d)     The Plan Funding Commitment has been provided and shall be sufficient to fund
                 distributions under the Plan (including reasonable reserves).

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         Except as set forth in Sections 9.1 and 9.2 of the Plan with respect to matters pertaining
 to the CIT Lenders, the conditions set forth in Article 9.1 and Article 9.2 of the Plan may be
 waived, in whole or in part, by the Debtors and Plan Funder without any notice to any other
 parties in interest (except the Committee) or the Bankruptcy Court and without a hearing. The
 failure to satisfy or waive any condition to the Confirmation Date or the Effective Date may be
 asserted by the Debtors and Plan Funder in their sole discretions regardless of the circumstances
 giving rise to the failure of such condition to be satisfied (including any action or inaction by the
 Debtors and Plan Funder in their sole discretion). The failure of the Debtors and Plan Funder to
 exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each
 such right shall be deemed an ongoing right which may be asserted at any time.

 L.      Confirmation Without Acceptance of All Impaired Classes: The “Cramdown”
         Alternative

         Section 1129(b) of the Bankruptcy Code provides that a plan can be confirmed even if it
 has not been accepted by all impaired classes as long as at least one impaired class of Claims has
 accepted it. The Bankruptcy Court may confirm the Plan at the request of the Debtors
 notwithstanding the Plan’s rejection (or deemed rejection) by impaired Classes as long as the
 Plan “does not discriminate unfairly” and is “fair and equitable” as to each impaired Class that
 has not accepted it. A plan does not discriminate unfairly within the meaning of the Bankruptcy
 Code if a dissenting class is treated equally with respect to other classes of equal rank.

         A plan is fair and equitable as to a class of secured claims that rejects such plan if the
 plan provides (1)(a) that the holders of claims included in the rejecting class retain the liens
 securing those claims, whether the property subject to those liens is retained by the debtor or
 transferred to another entity, to the extent of the allowed amount of such claims, and (b) that
 each holder of a claim of such class receives on account of that claim deferred cash payments
 totaling at least the allowed amount of that claim, of a value, as of the effective date of the plan,
 of at least the value of the holder’s interest in the estate’s interest in such property; (2) for the
 sale, subject to section 363(k) of the Bankruptcy Code, of any property that is subject to the liens
 securing the claims included in the rejecting class, free and clear of the liens, with the liens to
 attach to the proceeds of the sale, and the treatment of the liens on proceeds under clause (1) or
 (2) of this paragraph; or (3) for the realization by such holders of the indubitable equivalent of
 such claims.

        A plan is fair and equitable as to a class of unsecured claims which rejects a plan if the
 plan provides (1) for each holder of a claim included in the rejecting class to receive or retain on
 account of that claim property that has a value, as of the effective date of the plan, equal to the
 allowed amount of such claim; or (2) that the holder of any claim or interest that is junior to the
 claims of such rejecting class will not receive or retain on account of such junior claim or interest
 any property at all.

         A plan is fair and equitable as to a class of unsecured claims which rejects a plan if the
 plan provides (1) for each holder of an interest included in the rejecting class receive or retain on
 account of that interest property that has a value, as of the effective date of the plan, equal to the
 greatest of the allowed amount of any fixed liquidation preference to which such holder is
 entitled, any fixed redemption price to which such holder is entitled, or the value of such interest;

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 or (2) that the holder of any interest that is junior to the interest of such rejecting class will not
 receive or retain under the plan on account of such junior interest any property at all.

         The votes of holders of the Ben Interests in Shapes/Arch Holdings are not being solicited
 because such holders are not entitled to receive or retain under the Plan any interest in property
 on account of their Interests. Such Class therefore is deemed to have rejected the Plan pursuant
 to Section 1126(g) of the Bankruptcy Code. Accordingly, the Debtors are seeking confirmation
 of the Plan pursuant to Section 1129(b) of the Bankruptcy Code with respect to such Class, and
 may seek confirmation pursuant thereto as to the other Classes if such other Classes vote to reject
 the Plan. Notwithstanding the deemed rejection by such Class or the rejection by any other
 Class, the Debtors believe that all Classes are being treated fairly and equitably under the
 Bankruptcy Code. The Debtors therefore believe the Plan may be confirmed despite its deemed
 rejection by these Classes.

 M.      Provisions Regarding Corporate Governance and Management of the Reorganized
         Debtors

         (a)     Officers and Managers of Reorganized Shapes/Arch Holdings L.L.C.
                 [as set forth in the Plan Supplement]

         (b)     Officers and Managers of Reorganized Shapes L.L.C.
                 [as set forth in the Plan Supplement]

         (c)     Officers and Managers of Reorganized Delair L.L.C.
                 [as set forth in the Plan Supplement]

         (d)     Officers and Managers of Reorganized Accu-Weld L.L.C.
                 [as set forth in the Plan Supplement]

         (e)     Officers and Managers of Reorganized Ultra L.L.C.
                 [as set forth in the Plan Supplement]

                   VIII. CERTAIN RISK FACTORS TO BE CONSIDERED

      HOLDERS OF IMPAIRED CLAIMS AND INTERESTS AGAINST AND IN THE
 DEBTORS SHOULD READ AND CONSIDER CAREFULLY THE FACTORS SET FORTH
 BELOW AS WELL AS THE OTHER INFORMATION SET FORTH IN THIS DISCLOSURE
 STATEMENT (AND THE DOCUMENTS DELIVERED TOGETHER HEREWITH AND/OR
 INCORPORATED BY REFERENCE), PRIOR TO VOTING TO ACCEPT OR REJECT THE
 PLAN. THESE RISK FACTORS SHOULD NOT, HOWEVER, BE REGARDED AS
 CONSTITUTING THE ONLY RISKS INVOLVED IN CONNECTION WITH THE PLAN
 AND ITS IMPLEMENTATION.

         The Disclosure Statement and the material incorporated by reference herein (the
 “Incorporated Materials”) include “forward-looking statements” as defined in Section 27A of the
 Securities Act and Section 21E of the Securities Exchange Act of 1934. All statements other
 than statements of historical facts included in this Disclosure Statement and the Incorporated
 Materials regarding the Debtors’ financial position, and plans and objectives, including, but not

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 limited to, statements using words such as “anticipates,” “expects,” “estimates,” “believes,” and
 “likely” are forward-looking statements.

        The Debtors believe that the ultimate recoveries under the Plan to holders of Class 10
 Claims depend, in part, upon (i) the Plan Funding Commitment being adequate and sufficient to
 fund and pay all obligations under the Plan, and if not, whether the Plan Funder agrees to
 increase the amount of the Plan Funding Commitment, (ii) the Class 10 Liquidation Trustee’s
 success in objecting to Disputed Claims, and (iii) the Class 10 Liquidation Trustee’s success in
 recovering on Avoidance Actions and Estate Actions.

 A.      Taxation

        Pursuant to the Plan, each Holder of an Allowed Claim or Interest receiving cash or
 property under the Plan will recognize gain or loss equal to the difference between the amount of
 any cash and the fair market value of any other property received by such holder and the basis
 which the holder has in such Allowed Claim or Interest. The character of any recognized gain or
 loss will depend upon the status of the holder, the nature of the Claim or Interest and the period
 for which the Claim or Interest was held by the holder. The basis of a holder in any property
 received under the Plan will be the fair market value of such property on the Effective Date of
 the Plan, and the holding period in such property received will begin on the Effective Date.

         The federal, state and local tax consequences of the Plan are complex and, in some cases,
 uncertain. In addition, the foregoing summary does not discuss all aspects of federal income
 taxation that may be relevant to a particular holder of an Allowed Claim or Interest in light of its
 particular circumstances and income tax situation. Accordingly, each holder of a Claim or
 Interest is strongly urged to consult with its own tax advisor regarding the federal, state, and
 local tax consequences of the Plan.

 B.      Distributions to Holders of Claims

         The Plan is based on making Distributions as provided under the priority scheme set forth
 in the Bankruptcy Code. To this end, the Plan provides that all Allowed Administrative Claims,
 Priority Claims and Secured Claims will be paid or satisfied in full prior to the making of
 Distributions to holders of Allowed Claims in Class 10.

          The amount of Cash available for distribution to holders of Allowed Claims in Class 10
 will depend upon a number of factors, including, but not limited to, the following: the cost of
 administering the Liquidation Trust; the success of any objections to claims and the recoveries
 on any Avoidance Actions and Estate Actions. The Debtors are unable at this time to estimate
 with any certainty the ultimate resolution of such factors, and thus, the amount of available cash
 that ultimately will be available for Distribution to holders of Allowed Claims in Class 10.

        In addition, the payment of a Distribution to each holder of an Allowed Claim in Class 10
 will depend upon the Claims reconciliation and resolution process implemented by the Plan
 Administrator.




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 C.      Objections to Classification

         Section 1122 of the Bankruptcy Code provides that a plan may place a claim or equity
 interest in a particular class only if such claim or equity interest is substantially similar to the
 other claims or equity interests of such class. The Debtors believe that the classification of
 Claims and Interests under the Plan complies with the requirements set forth in the Bankruptcy
 Code.

 D.      Inherent Uncertainty of Financial Projections

         The financial projections attached hereto as Exhibit “C” are based upon numerous
 assumptions that are an integral part of such financial projections, including Confirmation and
 consummation of the Plan in accordance with its terms, the anticipated future performance of the
 Reorganized Debtors, industry performance, general business and economic conditions,
 competition, adequate financing, absence of material contingent or unliquidated litigation or
 indemnity claims, and other matters, many of which are beyond the control of the Reorganized
 Debtors and some or all of which may not occur. In addition, unanticipated events and
 circumstances occurring subsequent to the date of this Disclosure Statement may affect the
 actual financial results of the Reorganized Debtors’ operations. These variations may be
 material and may adversely affect the ability of the Reorganized Debtors to pay the obligations
 owing under the Plan and other post-Effective Date indebtedness. Because the actual results
 achieved throughout the periods covered by the financial projections may differ from the
 projected results, the financial projections should not be relied upon as a guaranty,
 representation, or other assurance of the actual results that will occur.

 E.      Certain Bankruptcy Law Considerations

         1.      Risk of Non-Confirmation of the Plan

         Although the Debtors believe that the Plan will satisfy all requirements necessary for
 confirmation by the Bankruptcy Court, there can be no assurance that the Bankruptcy Court will
 reach the same conclusion. Moreover, there can be no assurance that modifications of the Plan
 will not be required for confirmation or that such modifications would not necessitate the
 resolicitation of votes.

         2.      Risk of Non-Occurrence of the Effective Date

        Even if all Classes of Claims and Interests that are entitled to vote accept the Plan, the
 Plan may not become effective. The Plan sets forth conditions to the occurrence of the Effective
 Date that could remain unsatisfied.

         3.      Appeal of the Confirmation Order

        The Confirmation Order may be the subject of an appeal. If the Confirmation Order is
 vacated on appeal (assuming an appeal could be taken and such appeal would not be rendered
 moot due to substantial consummation of the Plan prior to prosecution), the Plan would fail.



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                        IX.    ALTERNATIVES TO CONFIRMATION AND
                                CONSUMMATION OF THE PLAN

         If the Plan is not confirmed and consummated, the alternatives to the Plan include (i)
 liquidation of the Debtors under chapter 7 of the Bankruptcy Code or (ii) an alternative plan of
 reorganization.

 A.        Liquidation Under Chapter 7

         If no plan is confirmed, the Debtors’ Cases may be converted to cases under Chapter 7 of
 the Bankruptcy Code, pursuant to which a trustee would be elected or appointed to liquidate the
 Debtors’ property for distribution in accordance with the priorities established by Chapter 7 of
 the Bankruptcy Code. A discussion of the effects that a Chapter 7 liquidation would have on the
 recoveries of holders of Claims and Interests is set forth in the Liquidation Analysis attached
 here as Exhibit “D”. The Debtors believe that liquidation under Chapter 7 would result in no
 distributions being made to creditors other than Secured Creditors because (i) the Debtors’ assets
 would be sold or otherwise disposed of in a forced sale situation over a short period of time, (ii)
 additional administrative expenses would be incurred, and (iii) additional expenses and claims,
 some of which would be entitled to priority, would be generated during the liquidation and from
 the rejection of leases and other executory contracts in connection with a termination of the
 Debtors’ businesses. For a further analysis of this issue please refer to Exhibit “D” attached
 hereto.

 B.        Alternative Plan of Reorganization

         If the Plan is not confirmed, the Bankruptcy Court could confirm a different plan. The
 Plan is a reorganization of the Debtors’ business and a different plan might involve some other
 form of reorganization or liquidation of the Debtors’ assets. The Debtors believe that the Plan,
 as described herein, enables creditors to realize the highest and best value under the
 circumstances. The Debtors believe that any liquidation of the Debtors’ assets or alternative
 form of Chapter 11 plan is a much less attractive alternative to creditors than the Plan because of
 the far greater returns and certainty provided by the Plan. Other alternatives could involve
 diminished recoveries, significant delay, uncertainty, and substantial additional administrative
 costs. Moreover, other alternatives may not provide the Debtors with the financing required to
 continue their business operations. The Debtors believe that their Plan provides the best
 recovery to their creditors by providing them with a distribution of cash rather than diminished
 recoveries following a liquidation of its assets or distribution of other property.

      X.       CERTAIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

 A.        Federal Income Tax Consequences in General

         The following summary addresses certain material federal income tax consequences of
 the implementation of the Plan to holders of certain Allowed Claims and holders of Allowed
 Interests. The summary is based upon the Debtors’ interpretation of the Internal Revenue Code
 of 1986, as amended (the “Tax Code”), applicable Treasury Regulations, judicial authority and
 current administrative rulings and pronouncements of the Internal Revenue Service (“IRS”), all


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 of which are subject to change, possibly with retroactive effect. Due to the complexity of certain
 aspects of the Plan and differences in the nature of the Claims and Interests of the various
 holders thereof, their taxpayer status, residence and methods of accounting and prior actions
 taken by such holders with respect to their Claims and Interests, the tax consequences described
 below are general in nature and are subject to significant considerations applicable to each holder
 of an Allowed Claim in Class 10 or an Allowed Interest in Class 11 or 12.

         The federal income tax consequences of the Plan and the formation and operation of the
 Reorganized Debtors and the Liquidation Trust, as well as distributions from the Liquidation
 Trust, are complex and subject to significant uncertainties. The Debtors’ interpretation of the
 federal income tax consequences set forth herein are not binding on the IRS, and the Debtors
 have not requested, and do not intend to request, an administrative ruling from the IRS with
 respect to any of the federal income tax aspects of the Plan. Consequently, there can be no
 assurance that the treatment described in this Disclosure Statement will be acceptable to the IRS.
 No opinion of counsel has either been sought or obtained with respect to the federal, state, local
 or foreign tax aspects of the Plan. Legislative, judicial or administrative changes or
 interpretations may be forthcoming that could alter or modify the statements and conclusions set
 forth herein. Additionally, changes in the facts or circumstances relating to the consummation or
 operation of the Plan or the formation or operation of the Reorganized Debtors or the Liquidation
 Trust could likewise affect the tax consequences to such parties.

         This summary does not address foreign, state or local tax consequences of the Plan, the
 Reorganized Debtors or the Liquidation Trust, nor does it purport to address all of the federal
 income tax consequences of the Plan, Reorganized Debtors or the Liquidation Trust. This
 summary also does not purport to address the federal income tax consequences of the Plan,
 Reorganized Debtors or the Liquidation Trust to taxpayers subject to special treatment under the
 federal income tax laws, such as banks, governmental authorities or agencies, pass-through
 entities, broker-dealers, tax-exempt entities, financial institutions, insurance companies, S
 corporations, small business investment companies, mutual finds, regulated investment
 companies, foreign corporations, and foreign persons.

         ACCORDINGLY, THE FOLLOWING SUMMARY OF CERTAIN MATERIAL
 FEDERAL INCOME TAX CONSEQUENCES IS FOR INFORMATIONAL PURPOSES
 ONLY AND IS NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING AND ADVICE
 BASED UPON THE INDIVIDUAL CIRCUMSTANCES OF A HOLDER OF A CLAIM OR
 INTEREST. ANY U.S. TAX ADVICE CONTAINED IN THIS DISCLOSURE STATEMENT
 (I) IS NOT INTENDED TO BE USED, AND CANNOT BE USED, BY ANY PERSON FOR
 THE PURPOSE OF AVOIDING U.S. FEDERAL TAX PENALTIES IMPOSED ON SUCH
 PERSON AND (II) WAS WRITTEN IN CONNECTION WITH THE MARKETING OR
 PROMOTION OF THE PLAN. IT IS STRONGLY RECOMMENDED THAT EACH
 HOLDER OF A CLAIM OR INTEREST CONSULT ITS OWN TAX ADVISOR FOR THE
 FEDERAL, STATE, LOCAL AND OTHER TAX CONSEQUENCES APPLICABLE TO IT
 UNDER THE PLAN.




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 B.      Federal Income Tax Consequences of the Liquidation Trust

         1.      Consequences of the Liquidation Trust

         Pursuant to the Plan, certain holders of Allowed Claims will receive beneficial interests
 in the Liquidation Trust. The Liquidation Trust will be organized for the primary purpose of
 liquidating the assets transferred to it with no objective to continue or engage in the conduct of a
 trade or business, except to the extent reasonably necessary to, and consistent with, the
 liquidating purpose of the Liquidating Trust. Thus, the Liquidation Trust is intended to be
 classified for federal income tax purposes as a “liquidating trust” within the meaning of Treasury
 Regulation Section 301.7701-4(d). The provisions of the Plan Administration Agreement and
 the Plan are intended to satisfy the guidelines for classification as a liquidating trust that are set
 forth in Revenue Procedure 94-45-, 1994-2 C.B. 684. Under the Plan, all parties are required to
 treat the Liquidation Trust as a liquidating trust, subject to contrary definitive guidance from the
 IRS.

         No request for a ruling from the IRS will be sought on the classification of the
 Liquidation Trust. Accordingly, there can be no assurance that the IRS would not take a contrary
 position to the classification of the Liquidation Trust. If the IRS were to challenge successfully
 the classification of the Liquidation Trust as a grantor trust, the federal income tax consequences
 to the Liquidation Trust and the holders of Claims could vary from those discussed herein
 (including the potential for an entity-level tax).

         2.      Creditor Trust Tax Reporting

         The Liquidation Trust will file annual information tax returns with the IRS as a grantor
 trust pursuant to Treasury Regulation Section 1.671-4(a) that will include information
 concerning certain items relating to the holding or disposition (or deemed disposition) of the
 assets (e.g., income, gain, loss, deduction and credit).

 C.      Federal Income Tax Consequences to Holders of Allowed Claims in Class 10

         The tax consequences of the implementation of the Plan to a holder of an Allowed Claim
 in Class 10 will depend, in part, on the origin of such holder’s Claim, whether the holder reports
 income on the accrual or cash basis, whether the holder receives consideration in more than one
 tax year of the holder, whether the holder has taken a bad debt deduction with respect to all or a
 portion of its Claim, and whether the holder is a resident of the United States. The tax
 consequences of the receipt of cash or property that is allocable to interest are discussed below in
 the section entitled “Receipt of Interest.”

         1.      Receipt of Cash and Property by Holders of Allowed Claims in Class 10

         Generally, a holder of an Allowed Claim in Class 10 will recognize gain or loss equal to
 the difference, if any, between the “amount realized” by such holder and such holder’s adjusted
 tax basis in the Allowed Claim. In general, the “amount realized” is equal to the sum of the
 Cash, the “issue price” of any debt instruments, and the fair market value of any other
 consideration received under the Plan in respect of the holder’s Allowed Claim.


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      HOLDERS OF ALLOWED CLAIMS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE RECOGNITION OF GAIN OR LOSS, FOR FEDERAL
 INCOME TAX PURPOSES, ON THE SATISFACTION OF THEIR ALLOWED CLAIMS.

         2.      Receipt of Interest

         Pursuant to the Plan (and except as set forth in the DIP Facilities in favor of the Lender
 Group and Arch Acquisition), consideration received in respect of Allowed Claims will be
 allocated first to the principal amount of such Allowed Claims, with any excess allocated to
 accrued but unpaid interest. However, there is no assurance that the IRS will respect such
 allocation for federal income tax purposes. Holders of Allowed Claims not previously required
 to include in their taxable income any accrued but unpaid interest on such Allowed Claims may
 be treated as receiving taxable interest, to the extent of any consideration they receive under the
 Plan that is allocable to such accrued but unpaid interest. Holders previously required to include
 in their taxable income any accrued but unpaid interest on an Allowed Claim may be entitled to
 recognize a deductible loss, to the extent that such accrued but unpaid interest is not satisfied
 under the Plan.

      HOLDERS OF ALLOWED CLAIMS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE ALLOCATION BETWEEN PRINCIPAL AND INTEREST
 OF CONSIDERATION RECEIVED IN SATISFACTION OF THEIR ALLOWED CLAIMS
 AND THE FEDERAL INCOME TAX TREATMENT OF ACCRUED BUT UNPAID
 INTEREST.

         3.      Character of Gain or Loss

         The character of any gain or loss as capital or ordinary and, in the case of capital gain or
 loss, as short-term or long-term, will depend on a number of factors, including: (i) the nature and
 origin of the Claim (e.g., Claims arising in the ordinary course of a trade or business or made for
 investment purposes may attract differing treatment); (ii) the tax status of the holder of the
 Claim; (iii) whether the Claim is a capital asset in the hands of the holder; (iv) whether the Claim
 has been held by the holder for more than one year; (v) the extent to which the holder previously
 claimed a loss or a bad debt deduction with respect to the Claim; and (vi) the extent to which the
 holder acquired the Claim at a market discount.

       HOLDERS OF ALLOWED CLAIMS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE AMOUNT AND CHARACTER OF GAIN OR LOSS, IF
 ANY, TO BE RECOGNIZED BY THEM UNDER THE PLAN.

         4.      Withholding

        All distributions to holders of Allowed Claims under the Plan are subject to any
 applicable withholding, including employment tax withholding.




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 D.      Federal Income Tax Consequences to Holders of Allowed Class 11 and 12 Interests

        The transactions contemplated by the Plan may cause some holders of Interests in the
 Debtors or members of such Interest holders to recognize income, including cancellation of
 indebtedness income, with no corresponding cash distribution.

      HOLDERS OF ALLOWED INTERESTS SHOULD CONSULT THEIR OWN TAX
 ADVISORS CONCERNING THE TAX TREATMENT RELATED TO THEIR INTERESTS
 UNDER THE PLAN.

 E.      Importance of Obtaining Professional Tax Assistance

      THE FOREGOING IS INTENDED AS A GENERIC SUMMARY ONLY, AND IS
 NOT A SUBSTITUTE FOR CAREFUL TAX PLANNING WITH A TAX PROFESSIONAL.
 THE FEDERAL, FOREIGN, STATE AND LOCAL INCOME AND OTHER TAX
 CONSEQUENCES OF THE PLAN ARE COMPLEX AND, IN SOME CASES, UNCERTAIN.
 SUCH CONSEQUENCES MAY ALSO VARY BASED ON THE PARTICULAR
 CIRCUMSTANCES OF EACH HOLDER OF AN ALLOWED CLAIM OR MEMBERSHIP
 INTEREST.  ACCORDINGLY, EACH HOLDER OF AN ALLOWED CLAIM OR
 MEMBERSHIP INTEREST IS STRONGLY URGED TO CONSULT WITH HIS, HER OR ITS
 OWN TAX ADVISOR CONCERNING THE FEDERAL, FOREIGN, STATE AND LOCAL
 INCOME AND OTHER TAX CONSEQUENCES UNDER THE PLAN.

       IN ACCORDANCE WITH REQUIREMENTS IMPOSED BY THE INTERNAL
 REVENUE SERVICE IN CIRCULAR 230, UNLESS EXPRESSLY STATED OTHERWISE IN
 THIS DISCLOSURE STATEMENT (INCLUDING ANY ATTACHMENTS), ANY FEDERAL
 TAX ADVICE CONTAINED IN THIS COMMUNICATION IS NOT INTENDED OR
 WRITTEN TO BE USED, AND CANNOT BE USED, FOR THE PURPOSE OF (A)
 AVOIDING PENALTIES UNDER THE TAX CODE OR (B) PROMOTING, MARKETING,
 OR RECOMMENDING TO ANOTHER PARTY ANY TRANSACTION OR OTHER
 MATTER ADDRESSED HEREIN.

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